    Case 3:24-cv-00517-JWD-SDJ       Document 39-1       08/05/24 Page 1 of 60



                        UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF LOUISIANA

DARCY ROAKE, et al.,

                              PLAINTIFFS,

      v.                                    Civil Action No. 3:24-cv-517

CADE BRUMLEY, et al.,                       Judge: JWD - SDJ

                            DEFENDANTS.




               MEMORANDUM OF LAW IN SUPPORT OF
         DEFENDANTS’ CONSOLIDATED MOTION TO DISMISS,
OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION, AND
          ALTERNATIVE MOTION FOR STAY PENDING APPEAL
           Case 3:24-cv-00517-JWD-SDJ                                   Document 39-1                    08/05/24 Page 2 of 60



                                                         TABLE OF CONTENTS

TABLE OF CONTENTS ............................................................................................................................... ii

TABLE OF AUTHORITIES ........................................................................................................................ iii

INTRODUCTION ........................................................................................................................................... 1

BACKGROUND .............................................................................................................................................. 3

LEGAL STANDARDS .................................................................................................................................... 6

ARGUMENT..................................................................................................................................................... 8

   I.     THE COURT SHOULD DISMISS PLAINTIFFS’ CLAIMS UNDER RULE 12(B)(1) FOR
          LACK OF SUBJECT MATTER JURISDICTION. ........................................................................................ 8

        A.      Plaintiffs’ Claims Are Not Ripe. .................................................................................................... 9

        B.      Plaintiffs Lack Article III Injury, Traceability, and Redressability..........................................12

        C.      Defendants Brumley and Members of BESE Are Entitled to Sovereign Immunity...........17

   II. THE COURT SHOULD DISMISS PLAINTIFFS’ CLAIMS UNDER RULE 12(B)(6) FOR
       FAILURE TO STATE A CLAIM FOR RELIEF. ........................................................................................20

        A.      Plaintiffs’ Establishment Clause Claim Fails (Count I). ...........................................................21

        B.      Plaintiffs’ Free Exercise Clause Claim Fails (Count II)............................................................41

   III. THE COURT SHOULD DENY PLAINTIFFS’ PRELIMINARY-INJUNCTION MOTION. ......................47

   IV. IN THE ALTERNATIVE, THE COURT SHOULD STAY ANY INJUNCTION PENDING APPEAL. ......49

PRAYER FOR RELIEF ................................................................................................................................50




                                                                              ii
           Case 3:24-cv-00517-JWD-SDJ                                   Document 39-1                    08/05/24 Page 3 of 60



                                                      TABLE OF AUTHORITIES

Cases

Agostini v. Felton,
  521 U.S. 203 (1997) .....................................................................................................................................39

Allen v. Wright,
  468 U.S. 737 (1984) .....................................................................................................................................15

Allied Marketing Group, Inc. v. CDL Marketing, Inc.,
  878 F.2d 806(5th Cir. 1989) ......................................................................................................................... 8

Am. Legion v. Am. Humanist Ass’n,
 588 U.S. 29 (2019) ................................................................................................................... 13, 33, 36, 46

Ams. United for Separation of Church & State, Inc.,
 454 U.S. 464 (1982) .....................................................................................................................................13

Aronow v. United States,
  432 F.2d 242 (9th Cir. 1970) ......................................................................................................................45

Ashcroft v. Iqbal,
  556 U.S. 662 (2009) ....................................................................................................................................... 7

Barber v. Bryant,
  860 F.3d 345 (5th Cir. 2017) .....................................................................................................1, 13, 14, 20

Bell v. Eagle Mountain Saginaw Indep. Sch. Dist.,
   27 F.4th 313 (5th Cir. 2022) .......................................................................................................................34

Benfield v. Magee,
   945 F.3d 333 (5th Cir. 2019) ....................................................................................................................... 7

Bezet v. United States,
  276 F. Supp. 3d 576 (E.D. La. 2017) ................................................................................................... 2, 47

Bowen v. Roy,
  476 U.S. 693 (1986) .............................................................................................................................. 43, 44

Braidwood Mgmt., Inc. v. EEOC,
  70 F.4th 914 (5th Cir. 2023) ......................................................................................................................... 9

California Parents for the Equalization of Educ. Materials v. Torlakson,
  973 F.3d 1010 (9th Cir. 2020) ....................................................................................................................45

Carney v. Adams,
  592 U.S. 53 (2020) .......................................................................................................................................12
                                                                              iii
           Case 3:24-cv-00517-JWD-SDJ                                   Document 39-1                   08/05/24 Page 4 of 60




Carson v. Makin,
  596 U.S. 767 (2022) .....................................................................................................................................44

Casillas v. Madison Ave. Assocs., Inc.,
  926 F.3d 329 (7th Cir. 2019) ......................................................................................................................16

Choice Inc. of Tex. v. Greenstein,
  691 F.3d 710 (5th Cir. 2012) ............................................................................................................. 8, 9, 11

Church of Lukumi Babalu Aye, Inc. v. City of Hialeah,
  508 U.S. 520 (1993) .....................................................................................................................................43

City of Alexandria v. FEMA,
   781 F. Supp. 2d 340 (W.D. La. 2011) .......................................................................................................47

City of Austin v. Paxton,
   943 F.3d 993 (5th Cir. 2019) ......................................................................................................... 17, 18, 20

City of Ocala v. Rojas,
   143 S. Ct. 764 (2023) ...................................................................................................................................13

Clapper v. Amnesty Int’l USA,
  568 U.S. 398 (2013) .....................................................................................................................................15

Croft v. Perry,
  624 F.3d 157 (5th Cir. 2010) .................................................................................................. 21, 23, 32, 45

Crowley v. Smithsonian Inst.,
  636 F.2d 738 (D.C. Cir. 1980) ...................................................................................................................45

Dialysis Newco, Inc. v. Cmty. Health Sys. Grp. Health Plan,
  938 F.3d 246 (5th Cir. 2019) ......................................................................................................................39

Doe v. Acton-Boxborough Reg’l Sch. Dist.,
  8 N.E.3d 737 (Mass. 2014).........................................................................................................................45

Doe v. Beaumont Indep. Sch. Dist.,
  240 F.3d 462 (5th Cir. 2001) ............................................................................................................... 35, 44

Doe v. Tangipahoa Par. Sch. Bd.,
  494 F.3d 494 (5th Cir. 2007) .................................................................................................. 13, 14, 17, 20

E.T. v. Paxton,
  19 F.4th 760 (5th Cir. 2021) ................................................................................................................ 48, 49

Emp’t Div. v. Smith,
 494 U.S. 872 (1990) .....................................................................................................................................46
                                                                             iv
           Case 3:24-cv-00517-JWD-SDJ                                   Document 39-1                   08/05/24 Page 5 of 60




Espinoza v. Montana Dep’t of Revenue,
  591 U.S. 464 (2020) .............................................................................................................................. 37, 38

FDA v. All. for Hippocratic Med.,
  602 U.S. 367 (2024) .............................................................................................................................. 15, 16

Firewalker-Fields v. Lee,
   58 F.4th 104 (4th Cir. 2023) .......................................................................................................................23

Freedom From Religion Foundation v. Hanover School District,
  626 F.3d 1 (1st Cir. 2010) ...........................................................................................................................45

Fulton v. City of Philadelphia,
  593 U.S. 522 (2021) .....................................................................................................................................46

Groff v. DeJoy,
  600 U.S. 447 (2023) .....................................................................................................................................39

Hamilton v. Dallas County,
  79 F.4th 494 (5th Cir. 2023) ......................................................................................................................... 7

Home Builders Ass’n of Miss., Inc. v. City of Madison,
  143 F.3d 1006 (5th Cir. 1998) ...................................................................................................................... 6

In re FEMA Trailer,
   668 F.3d 281 (5th Cir. 2012) ........................................................................................................................ 6

In re Great Lakes Dredge & Dock Co. LLC,
   624 F.3d 201 (5th Cir. 2010) ........................................................................................................................ 7

Kennedy v. Bremerton Sch. Dist.,
  597 U.S. 507 (2022) ........................................................................... 13, 22, 23, 32, 34, 35, 36, 39, 44, 45

Kling v. Hebert,
   60 F.4th 281 (5th Cir. 2023) ......................................................................................................................... 6

Labrador v. Poe,
  144 S. Ct. 921 (2024) ...................................................................................................................................49

Lemon v. Kurtzman,
  403 U.S. 602 (1971) ................................................................................................................. 13, 38, 39, 40

Little v. KPMG LLP,
   575 F.3d 533 (5th Cir. 2009) ........................................................................................................................ 6

Lynch v. Donnelly,
  465 U.S. 668 (1984) .....................................................................................................................................36
                                                                             v
           Case 3:24-cv-00517-JWD-SDJ                                  Document 39-1                   08/05/24 Page 6 of 60




Masterpiece Cakeshop, Ltd. v. Colorado Civil Rights Comm’n,
 584 U. S. 617 (2018) ....................................................................................................................................46

Mayle v. United States,
 891 F.3d 680 (7th Cir. 2018) ......................................................................................................................45

McCreary County, Ky. v. ACLU of Ky.,
  545 U.S. 844 (2005) .............................................................................................................................. 33, 40

McLin v. Twenty-First Jud. Dist.,
  79 F.4th 411 (5th Cir. 2023) ......................................................................................................................... 6

McRorey v. Garland,
  99 F.4th 831 (5th Cir. 2024)........................................................................................................................ 7

Miss. Power & Light Co. v. United Gas Pipe Line Co.,
  760 F.2d 618 (5th Cir. 1985) ........................................................................................................................ 7

Moody v. NetChoice, LLC,
 144 S. Ct. 2383 (2024) .................................................................................................................... 21, 23, 41

Munaf v. Geren,
 553 U.S. 674 (2008) ................................................................................................................................ 7, 47

Murthy v. Missouri,
 144 S. Ct. 1972 (2024) ....................................................................................................... 12, 13, 14, 15, 16

Myers v. Loudoun Cnty. Pub. Sch.,
  418 F.3d 395 (4th Cir. 2005) ......................................................................................................................45

New Doe Child #1 v. Congress of the United States,
  891 F.3d 578 (6th Cir. 2018) ......................................................................................................................45

New Doe Child #1 v. United States,
  901 F.3d 1015 (8th Cir. 2018) ....................................................................................................................45

Newdow v. Lefevre,
  598 F.3d 638 (9th Cir. 2010) ......................................................................................................................45

Newdow v. Peterson,
  753 F.3d 105 (2d Cir. 2014) .......................................................................................................................45

Newdow v. Rio Linda Union Sch. Dist.,
  597 F.3d 1007 (9th Cir. 2010) ....................................................................................................................45

NiGen Biotech, L.L.C. v. Paxton,
  804 F.3d 389 (5th Cir. 2015) ................................................................................................................. 2, 18
                                                                            vi
           Case 3:24-cv-00517-JWD-SDJ                                   Document 39-1                    08/05/24 Page 7 of 60




O’Hair v. Murray,
  588 F.2d 1144 (5th Cir. 1979) ....................................................................................................................45

Oliver v. Arnold,
  3 F.4th 152 (5th Cir. 2021) .........................................................................................................................45

Ramming v. United States,
  281 F.3d 158 (5th Cir. 2001) ........................................................................................................................ 7

Roho, Inc. v. Marquis,
   902 F.2d 356 (5th Cir. 1990) ....................................................................................................................... 7

Ruiz v. Estelle,
  650 F.2d 555 (5th Cir. Unit A June 1981).................................................................................................. 8

Sch. Dis. Of Abington Twp. v. Schempp,
   374 U.S. 203 (1963) .....................................................................................................................................34

Sherman v. Cmty. Consol. Sch. Dist. 21 of Wheeling Twp.,
  980 F.2d 437 (7th Cir. 1992) ......................................................................................................................45

Shurtleff v. Boston,
  596 U.S. 243 (2022) ........................................................................................................................ 22, 32, 33

Staley v. Harris County,
   485 F.3d 305 (5th Cir. 2007) ................................................................................................ 1, 9, 10, 11, 20

Steel Co. v. Citizens for a Better Env’t,
   523 U.S. 83 (1998) .......................................................................................................................................17

Stone v. Graham,
   449 U.S. 39 (1980) .................................................................................................. 2, 17, 36, 38, 39, 40, 41

Texas All. for Retired Americans v. Scott,
  28 F.4th 669 (5th Cir. 2022) ................................................................................................................ 18, 19

Town of Greece v. Galloway,
  572 U.S. 565 (2014) ........................................................................................................................ 22, 38, 44

TransUnion LLC v. Ramirez,
  594 U.S. 413 (2021) .....................................................................................................................................16

United States ex rel. Johnson v. Raytheon Co.,
  93 F.4th 776 (5th Cir. 2024) ......................................................................................................................... 7

Urb. Devs. LLC v. City of Jackson,
  468 F.3d 281 (5th Cir. 2006) ........................................................................................................................ 6
                                                                             vii
           Case 3:24-cv-00517-JWD-SDJ                                      Document 39-1                     08/05/24 Page 8 of 60




Van Orden v. Perry,
 545 U.S. 677 (2005) ......................................................................... 3, 4, 11, 25, 33, 35, 36, 38, 40, 41, 46

Veasey v. Abbott,
  870 F.3d 387 (5th Cir. 2017) ......................................................................................................................48

W. Virginia State Bd. of Educ. v. Barnette,
  319 U.S. 624 (1943) .....................................................................................................................................45

Whole Woman’s Health v. Jackson,
  595 U.S. 30 (2021) ......................................................................................................................................19

Williamson v. Tucker,
  645 F.2d 404 (5th Cir. May 1981) ............................................................................................................... 7

Statutes

La. R.S. § 17:262 .......................................................................................................................................... 3, 20

La. R.S. § 17:2122............................................................................................................................4, 19, 23, 36

La. R.S. § 17:3351............................................................................................................................................... 3

La. R.S. § 25:1281............................................................................................................................................... 3

La. R.S. § 25:1283............................................................................................................................................... 3

La. R.S. § 49.950 ................................................................................................................................................. 5

Other Authorities

2018 La. Sess. Law Serv. Act 410 (S.B. 224) .................................................................................................. 3

2023 La. Sess. Law Serv. Act 264 (H.B. 8) ..................................................................................................... 3

2006 La. Sess. Law Serv. Act 602 (S.B. 476) .................................................................................................. 3

La. Admin. Code § 28:337(B)(41) ............................................................................................................. 3, 20

Amicus Br. of Prof. Charles L. Glenn in Supp. of Pet’rs,
 Carson v. Makin, 2021 WL 4173250 (U.S. Sept. 10, 2021) .....................................................................37

James W. Fraser, Between Church and State (2d ed.), https://tinyurl.com/3fmm48ev ......................37

Encyclopedia Britannica, The New-England Primer, https://tinyurl.com/5682tuhy ................................37

William Holmes McGuffey, McGuffey’s Fourth Eclectic Reader (1920 rev. ed.) .................................... 36, 37
                                                                                viii
           Case 3:24-cv-00517-JWD-SDJ                                    Document 39-1                    08/05/24 Page 9 of 60




Rules

Fed. R. App. P. 8(a)(1) ...................................................................................................................................... 8

Fed. R. Civ. P. 12(b)(1)........................................................................................................................... 6, 8, 47

Fed. R. Civ. P. 12(b)(6)......................................................................................................................... 7, 20, 47




                                                                              ix
      Case 3:24-cv-00517-JWD-SDJ                Document 39-1         08/05/24 Page 10 of 60



                                          INTRODUCTION

        A few weeks ago, the Governor signed H.B. 71 into law. The law requires the display of the

Ten Commandments, subject to certain minimum requirements and officials’ discretion, in public

school classrooms. Five days later, Plaintiffs in this case—a number of parents on behalf of themselves

and their children—filed this lawsuit against various State officials and school boards. Plaintiffs allege

that they “object to, and will be harmed by, the religious displays mandated by H.B. 71.” ECF No. 1

(Compl.) at 17 (capitalization altered). Across more than 100 paragraphs of “Factual Allegations,”

however, the Complaint never mentions a single Defendant or a single H.B. 71 display. See id. ¶¶ 37–

155. For good reason: No Plaintiff or their child has seen an H.B. 71 display. In fact, no one knows

how any given school or official—including Defendants—will implement H.B. 71, what any given

H.B. 71 display will look like, or whether any given H.B. 71 display will pose a potential constitutional

issue. As a result, the most Plaintiffs can speculate is that, by “implementing H.B. 71,” the named

Defendants “will” violate Plaintiffs’ constitutional rights. Id. ¶¶ 163, 170 (emphasis added).

        That speculation requires dismissal for lack of subject matter jurisdiction. First, the Fifth

Circuit has squarely held that any challenge to a “probable” display of the Ten Commandments “is

not ripe because there are no facts before [the court] to determine whether such a [ ]display might

violate the Establishment Clause”—especially where “no decision has been made regarding any aspect

of the future display.” Staley v. Harris County, 485 F.3d 305, 309 (5th Cir. 2007) (en banc). Just so here.

Second, the Fifth Circuit has squarely held that, “[i]n cases involving religious displays,” “we have

required an encounter with the offending item or action to confer standing.” Barber v. Bryant, 860 F.3d

345, 353 (5th Cir. 2017). Because no Plaintiff or their child alleges an encounter with an H.B. 71

display, they lack Article III standing. And third, as to the State official Defendants covered by

sovereign immunity, the Fifth Circuit has squarely held that a plaintiff may sidestep that immunity

under the Ex parte Young doctrine only if (among other things) they identify an “ongoing violation of


                                                    1
       Case 3:24-cv-00517-JWD-SDJ                Document 39-1          08/05/24 Page 11 of 60



federal law.” See NiGen Biotech, L.L.C. v. Paxton, 804 F.3d 389, 394 (5th Cir. 2015). By insisting that the

named Defendants “will” violate Plaintiffs’ constitutional rights, the Complaint admits that there is

no ongoing violation of federal law, and thus the claims against the State officials must be dismissed.

For these reasons, the Court should enter a brief dismissal order for lack of subject matter jurisdiction

without prejudice to Plaintiffs or others filing a future lawsuit that is not jurisdictionally barred.

        If the Court nonetheless were inclined to reach the merits, dismissal would remain in order

because the Complaint fails to state a claim for relief. Plaintiffs’ claims in this case are facial attacks on

H.B. 71, which means that Plaintiffs must show that H.B. 71 cannot be constitutionally implemented

under any circumstances. That is an impossible burden, as numerous illustrations demonstrate

undisputedly constitutional implementation of H.B. 71. Plaintiffs claim that the Supreme Court’s

decision in Stone v. Graham, 449 U.S. 39 (1980), controls this case—but they omit that the Supreme

Court overruled the doctrinal basis for Stone. And in all events, Stone—as narrowed by the Supreme

Court itself—is easily distinguishable here. All this dooms Plaintiffs’ Establishment Clause claim, as

well as the Free Exercise Clause version of that claim.

        Dismissal of the Complaint on any of the above grounds means the Court also should dismiss

Plaintiffs’ preliminary-injunction motion as moot. See, e.g., Bezet v. United States, 276 F. Supp. 3d 576,

579 (E.D. La. 2017) (“Because the Court finds that the Government’s motion to dismiss should be

granted, the Court will deny as moot Plaintiff’s motion for partial preliminary injunction.”). In all

events, the Court should deny the preliminary-injunction motion because Plaintiffs are, at the least,

unlikely to succeed on the merits of their claims for all the reasons dismissal is warranted. Plaintiffs

also will suffer no harm from the absence of an injunction because Plaintiffs themselves do not yet

know how, if at all, they would be affected by a hypothetical H.B. 71 display. Finally, and in the

alternative, the State respectfully asks that the Court stay any injunction order pending appeal.




                                                      2
      Case 3:24-cv-00517-JWD-SDJ               Document 39-1        08/05/24 Page 12 of 60



        To sum up: (I) The Court should dismiss the Complaint without prejudice for lack of subject

matter jurisdiction. (II) If the Court reaches the merits, it should dismiss the Complaint for failure to

state a claim for relief. (III) The Court should deny the preliminary-injunction motion either as moot

or on the merits. (IV) In the alternative, the Court should stay any injunction order pending appeal.

                                          BACKGROUND

        A. Over the past few decades, the Louisiana Legislature—and different Governors—have

enacted laws addressing the role of religion in American and world history. For example, Governor

Kathleen Blanco signed into law the “Religious History of America and of the State of Louisiana as

Background of American and Louisiana Law.” See 2006 La. Sess. Law Serv. Act 602 (S.B. 476). That

law came on the heels of the Supreme Court’s decision upholding a display of the Ten

Commandments in Van Orden v. Perry, 545 U.S. 677 (2005). Since then, Louisiana has permitted public

displays of the Ten Commandments in courthouses and other State and local buildings to

acknowledge the role of religion in our history and culture. La. R.S. § 25:1281 et seq. Such displays are

accompanied by contextualizing language. Id. § 25:1283.

        Similarly, the Legislature and Governor John Bel Edwards enacted a law requiring all schools

to display the national motto “In God We Trust” in public school buildings. See 2018 La. Sess. Law

Serv. Act 410 (S.B. 224) (codified at La. R.S. § 17:262 (2018)). And last summer, Governor Edwards

signed into law a requirement to more prominently display the “In God We Trust” motto on a poster

“at least eleven inches by fourteen inches” in “large, easily readable font” in every public school

classroom. See 2023 La. Sess. Law Serv. Act 264 (H.B. 8) (codified at La. R.S. §§ 17:262 & 17:3351(O)).

Eight months later, on February 20, 2024, the Louisiana State Board of Elementary and Secondary

Education (BESE) updated the Louisiana Handbook for School Administrators to require each local

education agency to “have policies and procedures” to address the “display of the national motto in

each classroom in each school under its jurisdiction.” La. Admin. Code § 28:337(B)(41).

                                                   3
      Case 3:24-cv-00517-JWD-SDJ              Document 39-1       08/05/24 Page 13 of 60



       B. During the 2024 session, the Legislature and Governor Jeff Landry enacted another such

law, H.B 71. As with the “In God We Trust” national motto, H.B. 71 requires schools to display the

Ten Commandments in “large, easily readable font” on “a poster or framed document that is at least

eleven inches by fourteen inches”—slightly larger than this page—where the Ten Commandments is

“the central focus.” La. R.S. § 17:2122(B)(1). The text of the Ten Commandments is “identical” to the

text found on the monument upheld in Van Orden. Id. § 17:2122(A)(6). The display itself must include

a specific context statement explaining the history of the Ten Commandments in American public

education. Id. § 17:2122(B)(3). Alongside the Ten Commandments, schools may also display other

notable documents such as the Mayflower Compact, the Declaration of Independence, and the

Northwest Ordinance. Id. § 17:2122(B)(4)(a). No school governing board is required to “spend its

funds to purchase displays,” which may be donated or funded exclusively by private donations. Id.

§ 17:2122(B)(5). Beyond these provisions, H.B. 71 leaves “[t]he nature of the display [to] be

determined by each governing authority.” Id. § 17:2122(B)(1).

       The law requires schools to comply by January 1, 2025. Id. The law also requires BESE to

“adopt rules and regulations in accordance with the Administrative Procedure Act to ensure the

proper implementation of this Section.” Id. § 17:2122(B)(6)(a). Finally, it requires the Department of

Education to “identify appropriate [compliance] resources” that “are free of charge” and “list [them]

on the department’s internet website.” Id. § 17:2122(B)(6)(b).

       C. Plaintiffs—a group of Louisiana parents, on behalf of themselves and their minor children

enrolled in public schools—filed this lawsuit five days after the Governor signed H.B. 71. See Compl.

The named Defendants in this suit are Louisiana State Superintendent of Education Cade Brumley,

the members of BESE in their official capacities, and five parish school boards (East Baton Rouge,

Vernon, Livingston, St. Tammany, and Orleans). The Complaint asserts two claims for relief: a

violation of the First Amendment’s Establishment Clause (Count I) and a violation of the First

                                                  4
      Case 3:24-cv-00517-JWD-SDJ              Document 39-1        08/05/24 Page 14 of 60



Amendment’s Free Exercise Clause (Count II). Compl. at 38–41. Across both claims, Plaintiffs allege

that they “object to, and will be harmed by, the religious displays mandated by H.B. 71.” Id. at 17

(capitalization altered). They thus generally ask the Court to enjoin Superintendent Brumley, the BESE

members, the parish school boards, and several unnamed people and entities not before the Court

from (1) “adopting rules or regulations in accordance with, or otherwise enforcing,” H.B. 71,

(2) “requiring that the Ten Commandments be displayed in every public-school classroom,” and

(3) “displaying the Ten Commandments in any public-school classroom.” Id. at 41.

        Two weeks later, Plaintiffs filed a preliminary-injunction motion. ECF Nos. 20 (PI Mot.), 20-1

(PI Mem.). That motion seeks injunctive relief along the same lines, as well as “an order directing

Defendants Brumley and the members of [BESE] to provide a copy of any preliminary injunction

granted to all Louisiana public elementary, secondary, and charter schools, and all public post-

secondary education institutions.” PI Mot. at 3.

        D. Absent from the Complaint—and critical for present purposes—is any allegation that a

Plaintiff or their child has seen any H.B. 71 display, especially one traceable to any named Defendant.

That is unsurprising given that Plaintiffs sued a matter of hours after the Governor signed H.B. 71,

weeks before Plaintiffs’ children would go to school and well before any Defendant could come up

with a plan for creating a H.B. 71 display.

        Indeed, Defendants have thus far taken no steps to implement H.B. 71. BESE, for example,

has not even held a regular meeting since the Governor signed H.B. 71. Ex. B (Morris Decl.) ¶ 8. And

even if BESE were to promulgate a rule, that process would take around half a year to complete. See

La. R.S. § 49.950 et seq. Similarly, none of the Defendant school boards has taken steps to implement

the law. There are no H.B. 71 displays on their walls. See Ex. C (Smith Decl.) ¶ 8; Ex. D (Hart Decl.)

¶ 8; Ex. E (Travis Decl.) ¶ 8; Ex. F (Link Decl.) ¶ 8; They have not accepted donated funds or posters.

Ex. C ¶ 9; Ex. D ¶ 9; Ex. E ¶ 9; Ex. F ¶ 9. They have not considered any potential displays. Ex. C

                                                   5
      Case 3:24-cv-00517-JWD-SDJ                 Document 39-1         08/05/24 Page 15 of 60



¶ 10; Ex. D ¶ 10; Ex. E ¶ 10; Ex. F ¶ 10. In fact, the most they can represent as of today is that (a) they

will likely not post any “stand-alone copy of the Ten Commandments,” (b) they “will likely prioritize

the consideration of displays that preeminently celebrate [Louisiana, American, or world] history,” and

(c) they will “consider allowing different classrooms to post different versions of the display.” Ex. C

¶¶ 13–14; Ex. D ¶¶ 13–14; Ex. E ¶¶ 13–14; Ex. F ¶¶ 13–14.

        With respect to the Department of Education, H.B. 71 requires the Department only to

identify and list free compliance resources—but the Department has not yet taken any such steps.

Ex. A (Townsend Decl.) ¶¶ 9–10. The Department has reviewed a number of illustratives referenced

below and it “will likely consider some” of them “or variations of them.” Ex. A ¶ 12. But the

Department “will likely also consider other illustratives with different themes, content, formats,

layouts, graphics, typography, color schemes, sizes, styles, interactive elements, spacing, borders, and

headings.” Ex. A ¶ 13. And all Defendants almost certainly will consider stakeholder input from

parents, students, staff, and community members before deciding on a course of action. Ex. A ¶ 14.

        As of today, no Defendant has published an H.B. 71 display (or a related rule) or has any

imminent plans to do so.

                                        LEGAL STANDARDS

        Dismissal for Lack of Jurisdiction. Rule 12(b)(1) permits a party to raise fatal jurisdictional

defects early. See Fed. R. Civ. P. 12(b)(1); see, e.g., In re FEMA Trailer, 668 F.3d 281, 286 (5th Cir. 2012)

(quoting Home Builders Ass’n of Miss., Inc. v. City of Madison, 143 F.3d 1006, 1010 (5th Cir. 1998)). And

when “a Rule 12(b)(1) motion is filed,” “the court first considers its jurisdiction.” McLin v. Twenty-First

Jud. Dist., 79 F.4th 411, 415 (5th Cir. 2023). Ripeness, standing, and sovereign immunity are all

jurisdictional questions to be considered first when raised in a Rule 12(b)(1) motion. See Urb. Devs.

LLC v. City of Jackson, 468 F.3d 281, 292 (5th Cir. 2006) (ripeness); Little v. KPMG LLP, 575 F.3d 533,

540 (5th Cir. 2009) (standing); Kling v. Hebert, 60 F.4th 281, 284 (5th Cir. 2023) (sovereign immunity).

                                                     6
         Case 3:24-cv-00517-JWD-SDJ               Document 39-1          08/05/24 Page 16 of 60



         Plaintiffs, as “the part[ies] asserting jurisdiction,” “constantly bear[ ] the burden of proof that

jurisdiction does in fact exist.” Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001); see, e.g., United

States ex rel. Johnson v. Raytheon Co., 93 F.4th 776, 783 (5th Cir. 2024). On a factual attack under

Rule 12(b)(1), as here, “no presumptive truthfulness attaches to the [ ] allegations.” Williamson v. Tucker,

645 F.2d 404, 412–13 (5th Cir. May 1981).

         Dismissal for Failure to State a Claim. Dismissal also is proper where a plaintiff fails “to

state a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). “To survive a motion to

dismiss, a complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to relief

that is plausible on its face.’ ” Hamilton v. Dallas County, 79 F.4th 494, 499 (5th Cir. 2023) (quoting

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). Plaintiffs’ “conclusory allegations, unwarranted factual

inferences, or legal conclusions” are “not accept[ed] as true”—only “well-pleaded facts” receive that

presumption. In re Great Lakes Dredge & Dock Co. LLC, 624 F.3d 201, 210 (5th Cir. 2010) (internal

citations and quotations omitted). Once the complaint is stripped to its “well-pleaded facts,” those

alone “must make relief plausible, not merely possible.” Benfield v. Magee, 945 F.3d 333, 337 (5th Cir.

2019).

         Preliminary Injunction. “A preliminary injunction is an extraordinary and drastic remedy; it

is never awarded as of right.” Munaf v. Geren, 553 U.S. 674, 689–90 (2008) (internal citations and

quotations omitted); see Miss. Power & Light Co. v. United Gas Pipe Line Co., 760 F.2d 618, 621 (5th Cir.

1985) (calling it “the exception rather than the rule”). The preliminary-injunction elements are well-

treaded: “(1) a substantial likelihood of success on the merits; (2) a substantial threat of irreparable

harm if the injunction does not issue; (3) that the threatened injury outweighs any harm that will result

if the injunction is granted; and (4) that the grant of an injunction is in the public interest.” McRorey v.

Garland, 99 F.4th 831, 836 (5th Cir. 2024); see Roho, Inc. v. Marquis, 902 F.2d 356, 361 (5th Cir. 1990)

(failure to prove just one can be dispositive). Plaintiffs, as movants, must “clearly carr[y] the burden

                                                       7
       Case 3:24-cv-00517-JWD-SDJ                Document 39-1          08/05/24 Page 17 of 60



of persuasion with respect to all four factors.” Allied Marketing Group, Inc. v. CDL Marketing, Inc., 878

F.2d 806, 809 (5th Cir. 1989).

        Stay Pending Appeal. Courts consider four factors in determining whether to grant a stay

pending appeal: “(1) whether the movant has made a showing of likelihood of success on the merits,

(2) whether the movant has made a showing of irreparable injury if the stay is not granted, (3) whether

the granting of the stay would substantially harm the other parties, and (4) whether the granting of the

stay would serve the public interest.” Ruiz v. Estelle, 650 F.2d 555, 565 (5th Cir. Unit A June 1981); see

Fed. R. App. P. 8(a)(1).

                                              ARGUMENT

        The Court need do no more than dismiss Plaintiffs’ Complaint, without prejudice, for lack of

subject matter jurisdiction. The Complaint is directly foreclosed by Fifth Circuit precedent governing

ripeness, standing, and sovereign-immunity. Accordingly, the Court should issue a brief dismissal

order beginning and ending with subject matter jurisdiction. If the Court were inclined to reach the

merits, however, dismissal would remain warranted because Plaintiffs fail to state a claim for relief.

        Dismissal of the Complaint would warrant summary denial of Plaintiffs’ preliminary-

injunction motion as moot. If the Court were inclined not to dismiss the lawsuit, however, the Court

should deny the preliminary-injunction motion because Plaintiffs are, at the least, unlikely to succeed

on the merits; they will not suffer irreparable harm; and the equities and the public interest cut in

Defendants’ favor. Alternatively, and for the same reasons, Defendants respectfully request that the

Court stay any injunction pending appeal.

I.      The Court Should Dismiss Plaintiffs’ Claims under Rule 12(b)(1) for Lack of Subject
        Matter Jurisdiction.

        Fifth Circuit precedent requires the dismissal of Plaintiffs’ Complaint for lack of subject matter

jurisdiction. See, e.g., Choice Inc. of Tex. v. Greenstein, 691 F.3d 710, 714–15 (5th Cir. 2012) (“Article III

of the United States Constitution provides that federal courts have the power to decide only actual
                                                      8
      Case 3:24-cv-00517-JWD-SDJ                  Document 39-1          08/05/24 Page 18 of 60



cases or controversies.”). The most straightforward basis to do so is on ripeness grounds, although

the same considerations equally demonstrate the lack of Article III injury, traceability, and

redressability. Separately, Defendants Brumley and members of BESE are entitled to sovereign

immunity, which independently warrants dismissal of the claims against them. Whichever route the

Court chooses, its analysis should begin and end with the lack of subject matter jurisdiction.

        A. Plaintiffs’ Claims Are Not Ripe.

        The clearest dismissal ground is lack of ripeness. The ripeness doctrine’s “basic rationale is to

prevent the courts, through avoidance of premature adjudication, from entangling themselves in

abstract disagreements.” Id. at 715 (citation omitted). “[A] court must look at two factors to determine

ripeness: (1) ‘the fitness of the issues for judicial decision’ and (2) ‘the hardship to the parties of

withholding court consideration.’” Braidwood Mgmt., Inc. v. EEOC, 70 F.4th 914, 930 (5th Cir. 2023).

The claims in this case are not fit for judicial decision. And in all events, dismissal on ripeness grounds

would pose no hardship on the parties.

        1. Plaintiffs’ claims are not fit for judicial decision. “[A] claim is ‘fit for judicial decision’ if it

presents a pure question of law that needs no further factual development.” Id. But, “if a claim is

‘contingent [on] future events that may not occur as anticipated, or indeed may not occur at all,’ the

claim is not ripe.” Id. Plaintiffs’ claims do not satisfy this standard, for reasons the Fifth Circuit has

explained on materially identical facts.

        In Staley, the en banc Fifth Circuit confronted the question whether Establishment Clause

litigation over a Ten Commandments display that was, in fact, “no longer displayed” was moot. 485

F.3d at 308. The Fifth Circuit said yes and dismissed the case. In doing so, the court emphasized that

“the Supreme Court has made clear that ‘under the Establishment Clause detail is key.’ ” Id. The court

underscored that point by recounting “[t]he importance of facts and context” in the Supreme Court’s

Ten Commandments cases. Id. The court thus concluded that the case was moot: “Out of sight,” the


                                                      9
       Case 3:24-cv-00517-JWD-SDJ              Document 39-1         08/05/24 Page 19 of 60



Ten Commandments display “no longer raises the potential Establishment Clause violations that

offended [the plaintiff].” Id. at 309.

        Key here, the court further emphasized that “any dispute over a probable redisplay of the [Ten

Commandments] is not ripe because there are no facts before us to determine whether such a redisplay

might violate the Establishment Clause.” Id. (emphasis added). The problem, the court added, was

that “no decision has been made regarding any aspect of the future display of the [Ten

Commandments],” and “[i]n the absence of this evidence, we are unable to conduct the fact-intensive

and context-specific analysis required by [the Supreme Court].” Id. As a result, “any claim that the

Establishment Clause may be violated” in the future “is not ripe for review.” Id.

        That is Plaintiffs’ problem here. Because the Governor signed H.B. 71 into law only a few

weeks ago—and because schools need not comply until January 2025—Plaintiffs can challenge only

some unspecified display that they presume may violate their constitutional rights at some unspecified

future time. They do not allege that either they or their children have viewed an H.B. 71 display on a

classroom wall. Nor could they: Defendants have not taken any steps to carry out H.B. 71, and they

do not, in fact, know how they will comply with the statute. See supra 5–6. And so critical questions

are currently unanswered: What would any display viewed by Plaintiffs’ children actually look like?

Would that display place the Ten Commandments in a certain context, and if so, what context? Where

would the display be located in the classroom—by a teacher, on a side wall, on a back wall? How big

would the display be? What would be included as part of the display? Would the same display appear

in multiple classrooms, or would different classrooms have different versions? Will any particular

school actually receive donated posters that a school opts to use? And these critical questions are

compounded by the fact that there are countless ways a Defendant might comply with H.B. 71,

including, for example, the various illustrations referenced below. See infra Section II.A.




                                                   10
       Case 3:24-cv-00517-JWD-SDJ                 Document 39-1          08/05/24 Page 20 of 60



        Applying Staley, Plaintiffs’ case is unquestionably not ripe. The “importan[t] … facts and

context” essential to the First Amendment analysis are nowhere to be found because no Plaintiff has

yet seen an H.B. 71 display. Staley, 485 F.3d at 308; see Van Orden, 545 U.S. at 701 (Breyer, J.,

concurring) (emphasizing that “focusing on the text of the Commandments alone cannot conclusively

resolve [a] case”); infra Section II.A (illustrating the unsuitability of this case as a facial challenge).

Moreover, “no decision has been made regarding any aspect of [a] future display.” Staley, 485 F.3d at

309. In fact, the facts here are even worse for Plaintiffs: Unlike in Staley where the plaintiff at least had

previously seen the challenged display, Plaintiffs and their children do not allege that they have ever

seen an H.B. 71 display on their classroom walls. Accordingly, with “no facts before [this Court] to

determine whether such a [future] [ ]display might violate the Establishment Clause,” this Court and

the parties are “unable to conduct the fact-intensive and context-specific analysis required by” the

Supreme Court. Id. The upshot here, as it was in Staley, is that “any dispute over a probable [ ]display

of the [Ten Commandments] is not ripe.” Id. Dismissal is thus in order.

        2. Even if Plaintiffs could overcome the first ripeness factor, dismissal would remain in order

because they face no hardship from dismissal. See Choice Inc., 691 F.3d at 715 (“even where an issue

presents purely legal questions,” there must be a “hardship to the parties of withholding court

consideration” (citation omitted)). “The Supreme Court has found hardship to inhere in legal harms,

such as the harmful creation of legal rights or obligations; practical harms on the interests advanced

by the party seeking relief; and the harm of being forced to modify one’s behavior in order to avoid

future adverse consequences.” Id. (cleaned up).

        None of these potential hardships would flow from dismissal here. H.B. 71 undisputedly does

not create any legal rights or obligations as to Plaintiffs. Nor is any Plaintiff or Plaintiff’s child currently

or imminently subject to any H.B. 71 display; indeed, Defendants themselves do not yet know how

they will comply with H.B. 71. Nor is there any practical impediment to Plaintiffs filing suit if and

                                                      11
       Case 3:24-cv-00517-JWD-SDJ                 Document 39-1          08/05/24 Page 21 of 60



when their children actually view an H.B. 71 display that they believe violates their constitutional

rights. Accordingly, even on the hardship prong, dismissal remains warranted without prejudice to a

filing by a future plaintiff, in a future case, with a future H.B. 71 display in hand.

        B. Plaintiffs Lack Article III Injury, Traceability, and Redressability.

        The same considerations tee up Plaintiffs’ lack of Article III standing. Plaintiffs “bear[ ] the

burden of establishing standing as of the time [they] brought th[e] lawsuit and maintaining it

thereafter.” Carney v. Adams, 592 U.S. 53, 59 (2020). Thus, as of June 24 (the date of the Complaint),

each Plaintiff “must show that [they] [have] suffered, or will suffer, an injury that is ‘concrete,

particularized, and actual or imminent; fairly traceable to the challenged action; and redressable by a

favorable ruling.’ ” Murthy v. Missouri, 144 S. Ct. 1972, 1986 (2024). Plaintiffs, however, do not satisfy

any of these three requirements.

        1. They fail at the first step: a concrete, particularized, actual or imminent injury-in-fact. By the

Complaint’s filing on June 24—and by the Complaint’s own telling, Compl. ¶ 37—all that had

happened was the Legislature had passed H.B. 71, and the Governor had signed it on June 19.

Plaintiffs do not allege that they or their children have ever seen an H.B. 71 display. As explained

below, see infra Section II, this means that Plaintiffs’ claims in this case can only be facial attacks on

H.B. 71, as opposed to as-applied challenges involving specific H.B. 71 displays. That is important for

standing purposes because “ ‘plaintiffs must demonstrate standing for each claim that they press’

against each defendant, ‘and for each form of relief that they seek.’ ” Murthy, 144 S. Ct. at 1988. Here,

Plaintiffs fail to identify any Article III injury regardless of how their claims are construed.

        First, despite their facial attack, Plaintiffs notably do not base their claims on alleged harm

solely from the face of H.B. 71—i.e., the statutory text—itself. See, e.g., Compl. ¶¶ 83, 91, 101, 108,

115, 125, 131, 140, 147 (alleging instead that Plaintiffs are offended by H.B. 71 “because the overtly religious

displays mandated by the law will” violate their constitutional rights (emphasis added)). Rightly so: The


                                                      12
       Case 3:24-cv-00517-JWD-SDJ                      Document 39-1            08/05/24 Page 22 of 60



Fifth Circuit has foreclosed any such theory in Establishment Clause cases. Specifically, “[t]he

religious-display cases do not provide a basis for standing to challenge the endorsement of beliefs that

exist only in the text of a statute.” Barber, 860 F.3d at 354. Indeed, “[a]llowing standing on that basis

would be indistinguishable from allowing standing based on a ‘generalized interest of all citizens in’

the government’s complying with the Establishment Clause without an injury-in-fact,” which is itself

foreclosed by the Supreme Court. Id. (quoting Valley Forge Christian Coll. v. Ams. United for Separation of

Church & State, Inc., 454 U.S. 464, 483 (1982)). Since Plaintiffs’ claims are facial attacks on H.B. 71,

therefore, they have no standing under Barber—and that effectively ends the standing analysis since

Plaintiffs have no standing “for [the] claim[s] that they press.” Murthy, 144 S. Ct. at 1988.

         Second, and in all events, Plaintiffs’ theory of harm (as of the June 24 Complaint date) is that

they “will” be “offended by” some unspecified future H.B. 71 display that violates their constitutional

rights. See, e.g., Compl. ¶¶ 83, 91, 101, 108, 115, 125, 131, 140, 147. That theory invokes so-called

“offended observer standing”1—but Plaintiffs do not even have offended observer standing. As the

en banc Fifth Circuit has held, “[t]he question” for offended observer standing is whether the plaintiffs

“were exposed to, and may thus claim to have been injured by, [the challenged action].” Doe v.

Tangipahoa Par. Sch. Bd., 494 F.3d 494, 497 (5th Cir. 2007) (en banc). Indeed, “[i]n cases involving

religious displays,” the Fifth Circuit “require[s] an encounter with the offending item or action to

confer standing.” Barber, 860 F.3d at 353. This makes sense: To be an offended observer, one must have

observed something. And that requirement “represent[s] the outer limit[ ] of where we can find these

otherwise elusive Establishment Clause injuries.” Id.




1 Because the doctrinal basis for offended observer standing has now been overruled by the Supreme Court, Kennedy v

Bremerton Sch. Dist., 597 U.S. 507, 534–35 (2022) (overruling Lemon v. Kurtzman, 403 U.S. 602 (1971), Defendants preserve
for appellate review the threshold question whether offended observer standing itself remains a viable doctrine. See, e.g.,
Am. Legion v. Am. Humanist Ass’n, 588 U.S. 29, 79 (2019) (Gorsuch, J., concurring); City of Ocala v. Rojas, 143 S. Ct. 764
(2023) (Gorsuch, J., respecting the denial of certiorari).

                                                           13
          Case 3:24-cv-00517-JWD-SDJ             Document 39-1         08/05/24 Page 23 of 60



          Here, however, Plaintiffs do not allege that they or their children “were exposed to” or had

“an encounter with” an H.B. 71 display that allegedly violates their constitutional rights. In fact, the

Complaint’s repeated use of the auxiliary verb “will”—e.g., Plaintiffs’ children “will be

unconstitutionally coerced,” Compl. ¶ 160—admits that no such exposure or encounter has occurred.

Again, that is not surprising given that the Governor’s June 19 signature on H.B. 71 was hardly dry

when Plaintiffs filed this lawsuit on June 24. And that is fatal under Doe and Barber. See Doe, 494 F.3d

at 497–99 (ordering dismissal for lack of standing because there was no evidence that the plaintiffs

were exposed to the challenged prayers at school board meetings); Barber, 860 F.3d at 354 (ordering

dismissal for lack of standing in challenge to statute because the plaintiffs “cannot confront statutory

text”).

          This deficiency, moreover, leads to at least two other independently fatal injury-in-fact

problems. One, the Complaint does not carry Plaintiffs’ burden to establish a “concrete, particularized,

and actual or imminent” injury. Murthy, 144 S. Ct. at 1986 (emphasis added). The reason the Complaint

generally claims “the displays will violate our rights” is that Plaintiffs cannot speak in specifics, because

they have never seen an H.B. 71 display and thus do not know how (if at all) their rights might be

violated. Indeed, as several illustrations below suggest, it is easy to see that no Plaintiff or their child

will likely ever experience harm, much less a violation of his or her rights. But for present purposes,

Plaintiffs’ inability to identify a concrete, particularized, and imminent injury from an H.B. 71 display

is independently fatal. See Doe, 494 F.3d at 499 (“Without the requisite specifics, this court would be

speculating upon the facts. This is something we cannot do ….”). Two, Plaintiffs’ theory of harm boils

down to a claim that they will be offended by any H.B. 71 display, in any form, in any location, at any

time. But that is just a theory of alleged harm from H.B. 71’s “alleged endorsement of specific

beliefs”—and it is foreclosed by Barber’s specific distinction between (a) standing for attacks on a

statute or policy and (b) standing for attacks on a religious display. See 860 F.3d at 354 (“The religious-

                                                     14
       Case 3:24-cv-00517-JWD-SDJ                      Document 39-1            08/05/24 Page 24 of 60



display cases do not provide a basis for standing to challenge the endorsement of beliefs that exist

only in the text of a statute.”); see also FDA v. All. for Hippocratic Med., 602 U.S. 367, 381 (2024)

(“[C]itizens [may not] sue merely because their legal objection is accompanied by a strong moral,

ideological, or policy objection to a government action.”).2

         In sum, however the Court construes Plaintiffs’ alleged harm, Plaintiffs allege no cognizable

injury-in-fact.

         2. Plaintiffs’ failure to allege an injury-in-fact means that Plaintiffs also have failed to show

“any concrete link between their injuries and the [D]efendants’ conduct.” Murthy, 144 S. Ct. at 1997;

see FDA, 602 U.S. at 383 (plaintiffs must show a “line of causation between the illegal conduct and

injury” (quoting Allen v. Wright, 468 U.S. 737, 752 (1984)). That link “must not be too speculative or

too attenuated.” Id. (citing Clapper v. Amnesty Int’l USA, 568 U.S. 398, 410 (2013)). That determination

is often “heavily fact-dependent.” Id. at 384.

         Here, too, the mismatch between Plaintiffs’ facial attack on H.B. 71 and their speculative

injuries from hypothetical future H.B. 71 displays distorts the Article III analysis. Although Plaintiffs

ultimately attack H.B. 71 itself, they correctly do not suggest that Defendants—schools boards and

State officials uninvolved in the passage of legislation—somehow “caused” H.B. 71. Instead, they shift

to alleged harms from unspecified future H.B. 71 displays. But the Complaint does not link those

alleged harms to Defendants. Indeed, one of the most striking aspects of the Complaint is that its over

100 paragraphs of “Factual Allegations” never mention a single Defendant. See Compl. ¶¶ 37–155. In

fact, all but two paragraphs in Counts I and II likewise fail to mention a single Defendant. Id. ¶¶ 156–

70. Again, all this is unsurprising because no Defendant took any compliance steps in the four days


2 All the above defects likewise dispose of the Complaint’s suggestions that the Plaintiff parents suffer harm in their own

right from H.B. 71’s alleged interference with their children’s upbringings. E.g., Compl. ¶¶ 120, 140. That “one-step-
removed” harm theory, Murthy, 144 S. Ct. at 1986, depends on cognizable harm to the children themselves, which, as
demonstrated here, does not exist. Accordingly, the Plaintiff parents have no freestanding theory of harm that survives
these basic defects.

                                                           15
      Case 3:24-cv-00517-JWD-SDJ                Document 39-1         08/05/24 Page 25 of 60



between the Governor’s signature on H.B. 71 and the filing of this lawsuit. And that remains true

today as no Defendant yet knows how it will comply with H.B. 71. See supra 5–6 (collecting

declarations).

        The most Plaintiffs offer to link any Defendant to their alleged harms from actual (but as of

yet unknown) H.B. 71 displays is the following allegation: “By implementing H.B. 71, Defendants …

will unavoidably violate Plaintiffs’ rights.” Compl. ¶ 163; id. ¶ 170 (same). Setting aside the merits of

that claim, see infra Section II, for standing purposes this allegation commits the exact error identified

in Murthy: It “treat[s] the defendants[ and] plaintiffs … as a unified whole,” even though the Supreme

Court’s “decisions make clear that ‘standing is not dispensed in gross.’ ” 144 S. Ct. at 1988; see also id.

(“That is, ‘plaintiffs must demonstrate standing for each claim that they press’ against each defendant,

‘and for each form of relief that they seek.’ ”). More fundamentally, Plaintiffs cannot actually draw that

link between any particular Plaintiff and any particular Defendant because, again, the Complaint

alleges no ongoing or intended conduct by any Defendant. Plaintiffs’ allegation that Defendants “will

unavoidably violate [their] rights,” Compl. ¶ 163, therefore, “is too speculative or otherwise too

attenuated to establish standing.” FDA, 602 U.S. at 390. It is also simply wrong—as the illustrations

below show, see infra Section II.A, Defendants can easily avoid violating Plaintiffs’ rights.

        3. So, too, for redressability. See id. at 380 (“The second and third standing requirements—

causation and redressability—are often ‘flip sides of the same coin.’ ”). “Article III grants federal courts

the power to redress harms that defendants cause plaintiffs, not a freewheeling power to hold

defendants accountable for legal infractions.” TransUnion LLC v. Ramirez, 594 U.S. 413, 427 (2021)

(quoting Casillas v. Madison Ave. Assocs., Inc., 926 F.3d 329, 332 (7th Cir. 2019)). When a defendant has

not harmed the plaintiff, “there is no injury for a federal court to redress.” Casillas, 926 F.3d at 332.

And that is the case here. The Complaint fails to allege an Article III injury-in-fact, let alone an injury




                                                    16
      Case 3:24-cv-00517-JWD-SDJ                Document 39-1         08/05/24 Page 26 of 60



traceable to a particular Defendant. Accordingly, “there is no injury for [this] federal court to redress.”

Id.

        4. One final note bears mentioning. In their pleadings and briefing, Plaintiffs have attempted

to shroud their case in Stone v. Graham. That strategy is misplaced on the merits for reasons expressed

below. See infra Section II. But, if Plaintiffs were inclined to argue that Stone likewise permits them to

bypass the ripeness and standing problems identified above, the en banc Fifth Circuit has squarely

foreclosed that argument. In Doe, the dissent argued that “lower courts can infer standing from the

Supreme Court’s decision in similar Establishment Clause cases where the issue was not ruled on by

the Court.” 494 F.3d at 498. “This proposition is incorrect,” the en banc majority said. Id. That is

because, “[g]oing back to Chief Justice Marshall, the [Supreme] Court has consistently held that it ‘is

not bound by a prior exercise of jurisdiction in a case where [jurisdiction] was not question and it was

passed sub silentio.’ ” Id. (collecting cases). And indeed, the Supreme Court itself has long emphasized

that such “drive-by jurisdictional rulings”—i.e., where justiciability is “assumed without discussion by

the Court”—“have no precedential effect.” Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 91 (1998).

Stone, of course, contains no discussion of justiciability and thus does not save Plaintiffs’ Complaint

from dismissal for lack of subject matter jurisdiction.

        C. Defendants Brumley and Members of BESE Are Entitled to Sovereign Immunity.

        1. Finally, the claims against Defendants Brumley and BESE members must be dismissed

because they are entitled to sovereign immunity. “In most cases, Eleventh Amendment sovereign

immunity bars private suits against nonconsenting states in federal court.” City of Austin v. Paxton, 943

F.3d 993, 997 (5th Cir. 2019) (noting also that sovereign immunity presents a jurisdictional

determination). That bar extends to “suits against state officials or agencies that are effectively suits

against a state,” including official-capacity claims. Id. Thus, “unless the state has waived sovereign

immunity or Congress has expressly abrogated it, the Eleventh Amendment bars the suit.” Id.


                                                    17
      Case 3:24-cv-00517-JWD-SDJ                 Document 39-1         08/05/24 Page 27 of 60



        Sovereign immunity bars this suit against Defendant Brumley and BESE members. Each such

Defendant is a State official sued only in his or her “official capacity.” Compl. ¶¶ 22 (Brumley), 26

(BESE members). Accordingly, the claims against these Defendants “are effectively suits against a

state,” which are barred under the Eleventh Amendment. City of Austin, 943 F.3d at 997.

        2. Plaintiffs could avoid that bar only by invoking the Ex parte Young equitable exception,

which “permits plaintiffs to sue a state officer in his official capacity for an injunction to stop ongoing

violations of federal law.” Texas All. for Retired Americans v. Scott, 28 F.4th 669, 671 (5th Cir. 2022). But

they cannot satisfy that exception for at least two independent reasons.

        First, for all the reasons explained above, Plaintiffs do not allege an “ongoing violation[ ] of

federal law,” id.—and that is fatal. See NiGen Biotech, 804 F.3d at 394 (“It is true that a complaint must

allege that the defendant is violating federal law ….” (emphasis in original)). Indeed, Plaintiffs’ repeated

claim that Defendants “will unavoidably violate Plaintiffs’ rights,” Compl. ¶¶ 163, 170 (emphasis

added), effectively admits that there is no ongoing violation of federal law right now. That independently

forecloses any invocation of Ex parte Young here. See NiGen Biotech, 804 F.3d at 394 n.5 (distinguishing

the “similar but not identical” Article III standing requirement that a plaintiff show “ongoing harm or

a threat of imminent harm” (emphasis added)).

        Second, Plaintiffs do not allege that Defendant Brumley or the Defendant BESE members have

the requisite authority to enforce H.B. 71. To invoke Ex parte Young, a plaintiff must allege that “[t]he

officer sued [has] ‘some connection with the enforcement of the [challenged] act.’ ” Scott, 28 F.4th at

672. Although the Fifth Circuit’s conception of “[h]ow much of a ‘connection’ has been hard to pin

down,” “some guideposts have emerged”: (1) “an official must have more than ‘the general duty to

see that the laws of the state are implemented’ ”; (2) “the official must have ‘the particular duty to

enforce the statute in question and a demonstrated willingness to exercise that duty’ ”; and

(3) “enforcement means compulsion or constraint.” Id. As to the last requirement, “[i]f the official

                                                     18
      Case 3:24-cv-00517-JWD-SDJ               Document 39-1        08/05/24 Page 28 of 60



does not compel or constrain anyone to obey the challenged law, enjoining that official could not stop

any ongoing constitutional violation.” Id. The Complaint fails under each of these guideposts.

        Beginning with Defendant Brumley, the Complaint emphasizes that he is the State

Superintendent of Education, is responsible for overseeing the Department of Education and BESE,

and is “responsible for the implementation of all state laws that fall under the jurisdiction of [BESE],

which includes H.B. 71.” Compl. ¶¶ 19–21. But these are just allegations that Defendant Brumley has

a “general duty to see that the laws of the state are implemented,” which is insufficient in the Fifth

Circuit. Scott, 28 F.4th at 672. In addition, Plaintiffs notably do not allege that Defendant Brumley has

a “particular duty to enforce [H.B. 71]” through “compulsion or constraint,” id., nor could they: H.B.

71 simply requires the Department of Education to “identify,” and “list,” “free [compliance] resources

on the department’s internet website.” La. R.S. § 17:2122(B)(6)(b). Compulsion and constraint that is

not, which means Defendant Brumley “is not a proper defendant under Ex parte Young” and the claims

against him must be dismissed. Scott, 28 F.4th at 672.

        So, too, with Defendant BESE members. The Complaint emphasizes BESE’s “responsib[ility]

for the oversight and governance of all public elementary and secondary schools in Louisiana.” Compl.

¶ 24. But again, such allegations of a “general duty to see that the laws of the state are implemented”

are insufficient. Scott, 28 F.4th at 672. The Complaint also alleges that, “[i]n H.B. 71, the Louisiana

State Legislature has given LSBESE the authority to adopt rules and regulations to ensure the

implementation of the Act.” Compl. ¶ 25. But that allegation does not help Plaintiffs. For one thing,

they do not (and cannot) challenge any such BESE rule or regulation, and that BESE “might in the

future promulgate” a rule is insufficient for Ex parte Young purposes. Whole Woman’s Health v. Jackson,

595 U.S. 30, 44 (2021). For another thing, Plaintiffs do not allege that any BESE regulation would

require implementation of H.B. 71 through “compulsion or constraint.” Scott, 28 F.4th at 672. In fact,

BESE’s regulation regarding implementation of the “In God We Trust” motto simply tells schools to

                                                   19
      Case 3:24-cv-00517-JWD-SDJ               Document 39-1        08/05/24 Page 29 of 60



develop “policies and procedures that address … display of the national motto in each classroom in

each school under its jurisdiction in accordance with R.S. 17:262.” La. Admin. Code § 28:337(B)(41).

That is a far cry from ordinary examples of compulsion and constraint such as “prohibiting payment

of claims under [an] abortion statute,” “rate-setting,” “sending letters threatening formal

enforcement,” or a “threat of criminal prosecution.” City of Austin, 943 F.3d at 1001–02 (collecting

cases). And that only underscores that Ex parte Young does not save Plaintiffs’ claims against the BESE

members.

                                           *       *       *

        The Court lacks jurisdiction. As the Fifth Circuit has noted when identifying the same problem

in other cases, “a future plaintiff” may well be able to overcome these jurisdictional obstacles, “but

the federal courts must withhold judgment unless and until that plaintiff comes forward.” Barber, 860

F.3d at 358. And indeed, given the high-profile nature of H.B. 71, “it is not hard to conceive that a

more concrete controversy may arise in the future,” i.e., when an H.B. 71 display actually appears on

a classroom wall. Doe, 494 F.3d at 499. For now, however, dismissal is warranted, as in Barber, Staley,

and Doe. It “poses [no] inconvenience for the parties,” and “it spares this court from issuing a largely

hypothetically-based ruling on issues of broad importance ….” Id. The Court should dismiss for lack

of jurisdiction and proceed no further.

II.     The Court Should Dismiss Plaintiffs’ Claims under Rule 12(b)(6) for Failure to State a
        Claim for Relief.

        If the Court proceeds to the merits, however, dismissal remains warranted because Plaintiffs

have failed to state a claim for relief under either the Establishment Clause (Count I) or Free Exercise

Clause (Count II).




                                                  20
      Case 3:24-cv-00517-JWD-SDJ                  Document 39-1       08/05/24 Page 30 of 60



        A. Plaintiffs’ Establishment Clause Claim Fails (Count I).

            1. Plaintiffs cannot show that there is no set of circumstances under which H.B.
               71 may be constitutionally implemented.

        Beginning with Plaintiffs’ Establishment Clause claim, the first critical step is to identify the

nature of the claim: It is a facial attack on H.B. 71—that is, an attack on the statute itself rather than

a particular application of H.B. 71. See Croft v. Perry, 624 F.3d 157, 164 (5th Cir. 2010) (“Because a

distinction exists between facial and as-applied Establishment Clause challenges, we must consider

where the plaintiffs’ claims belong.”). In fact, this can only be a facial attack on H.B. 71 since the

Complaint does not, and could not, challenge any particular display implementing H.B. 71. And the

scope of requested relief—i.e., a declaration that H.B. 71 itself is unconstitutional and an injunction

against its implementation—confirms as much. Compare Compl. at 41, with Croft, 624 F.3d 157 (“Our

conclusion that the challenges are facial attacks is confirmed by the relief sought by the plaintiffs: that

the pledge be invalidated in its entirety ….”).

        “[T]hat matters” because “facial challenges are disfavored.” Moody v. NetChoice, LLC, 144 S. Ct.

2383, 2408–09 (2024). All nine Justices recently emphasized this point. See id. at 2409 (Barrett, J.,

concurring) (emphasizing “the dangers of bringing a facial challenge”); id. at 2411 (Jackson, J.,

concurring in part and concurring in the judgment) (“[A]s all Members of the Court acknowledge,

plaintiffs bringing a facial challenge must clear a high bar.”); id. at 2428 (Alito, J., concurring in the

judgment) (“Such challenges are strongly disfavored.”). A plaintiff’s choice “to litigate [his] case[ ] as

[a] facial ‘challenge’ ” thus “comes at a cost” because the Supreme Court “has … made facial challenges

hard to win.” Id. at 2397 (maj. op.).

        That difficulty is key here. To “successfully mount a facial challenge” under Fifth Circuit

precedent, Plaintiffs must plausibly allege “that there is no set of circumstances under which [the

implementation of H.B. 71] is constitutional.” Croft, 624 F.3d at 164. Put otherwise, Plaintiffs must

“show [H.B. 71] to be unconstitutional in every application.” Id. As discussed below, that standard is

                                                    21
      Case 3:24-cv-00517-JWD-SDJ                 Document 39-1        08/05/24 Page 31 of 60



fatal to Plaintiffs’ claims because there are countless ways a school may constitutionally implement

H.B. 71—in fact, so many that, even if the high bar were lowered, Plaintiffs’ Complaint still does not

meet it.

              2. H.B. 71 is constitutional because it plainly may be implemented in countless
                 ways that do not implicate Kennedy’s “hallmarks of religious establishments.”

           a. Although Plaintiffs’ Complaint never mentions the decision, the Supreme Court recently

established the proper framework for an Establishment Clause analysis. Specifically, courts must

interpret “the Establishment Clause … by ‘reference to historical practices and understandings.’ ”

Kennedy v. Bremerton Sch. Dist., 597 U.S. 507, 535 (2022) (quoting Town of Greece v. Galloway, 572 U.S. 565,

576 (2014)). And the Court specifically directs courts to look at the “hallmarks of religious

establishments the framers sought to prohibit when they adopted the First Amendment.” Id. at 537 &

n.5 (citing Shurtleff v. Boston, 596 U.S. 243, 285–86 (2022) (Gorsuch, J., concurring) (collecting the

hallmarks)). There are six:

           1. “[T]he government exerted control over the doctrine and personnel of the
              established church.”

           2. “[T]he government mandated attendance in the established church and punished
              people for failing to participate.”

           3. “[T]he government punished dissenting churches and individuals for their
              religious exercise.”

           4. “[T]he government restricted political participation by dissenters.”

           5. “[T]he government provided financial support for the established church, often in
              a way that preferred the established denomination over other churches.”

           6. “[T]he government used the established church to carry out certain civil functions,
              often by giving the established church a monopoly over a specific function.”

Shurtleff, 596 U.S. at 286 (Gorsuch, J., concurring). Among those hallmarks, most “reflect forms of

‘coerc[ion]’ regarding ‘religion or its exercise.’ ” Id. As the Supreme Court has noted, “[g]overnment

‘may not coerce anyone to attend church,’ nor may it force citizens to engage in ‘a formal religious


                                                    22
        Case 3:24-cv-00517-JWD-SDJ                          Document 39-1              08/05/24 Page 32 of 60



exercise.’ ” Kennedy, 597 U.S. at 537 (citations omitted); see also id. (“[n]o doubt … coercion along these

lines was among the foremost hallmarks”). At the same time, however, the Establishment Clause does

not “compel the government to purge from the public sphere anything an objective observer could

reasonably infer endorses or partakes of the religious.” Id. at 535 (cleaned up).

          Therefore, Plaintiffs’ burden here is to plausibly allege that every potential display implementing

H.B. 71 will violate the Establishment Clause because it falls within one of these historical hallmarks

of religious establishments. See Croft, 624 F.3d at 164.3 They have not done so, and cannot do so.

          b. Plaintiffs’ problem begins with the scope of H.B. 71. See Moody, 144 S. Ct. at 2398 (“The

first step in the proper facial analysis is to assess the state laws’ scope.”). By its own terms, H.B. 71

sets only a floor—“a minimum requirement”—for an H.B. 71 display, otherwise leaving “[t]he nature

of the display [to] be determined by each governing authority.” See La. R.S. § 17:2122(B)(1), (C)(1).

That means the universe of potential H.B. 71 displays is infinite. A few illustrations bear this out.

          For example, a school, teacher, or civic non-profit looking to donate displays could simply

have a poster that explains the historical role that the Ten Commandments have played in American

history, both in education and in law:




3 Plaintiffs suggest (e.g., PI Mot. at 9) that Defendants bear this burden. That is incorrect. See, e.g., Firewalker-Fields v. Lee, 58

F.4th 104, 122 & n.7 (4th Cir. 2023) (“Kennedy) makes clear that, under the Establishment Clause, historical analysis is ‘the
rule rather than some exception.’ So, in Establishment Clause cases, the plaintiff has the burden of proving a set of facts
that would have historically been understood as an establishment of religion.” (citations omitted)).


                                                                 23
        Case 3:24-cv-00517-JWD-SDJ                      Document 39-1            08/05/24 Page 33 of 60




                                                      Illustration 14




                                                       Illustration 2




4 For reading ease, full-page copies of the illustrations are attached as exhibits to the declaration of Ashley Townsend. See

Ex. A-1.

                                                            24
      Case 3:24-cv-00517-JWD-SDJ               Document 39-1         08/05/24 Page 34 of 60



        An elementary school or teacher might use the Commandments as an illustration of rules

before laying out the class rules:




                                              Illustration 3
        Or a school, teacher, or civic non-profit looking to donate displays might draw inspiration

from the Supreme Court’s own description of its building, see, e.g., Van Orden, 545 U.S. at 688 (plurality

op.), and develop a poster describing Moses’s place at the Court:




                                                   25
      Case 3:24-cv-00517-JWD-SDJ           Document 39-1      08/05/24 Page 35 of 60




                                          Illustration 4
       Similarly, a school, teacher, or civic non-profit looking to donate displays might draw

inspiration from the incredible architecture and artwork in the U.S. House of Representatives’

chamber, adding that one of Louisiana’s own congressmen serves as Speaker and looks directly at

Moses when presiding from the dais:




                                          Illustration 5




                                               26
      Case 3:24-cv-00517-JWD-SDJ             Document 39-1        08/05/24 Page 36 of 60



       Along the same lines, a school, teacher, or civic non-profit looking to donate displays may

turn to Charlton Heston’s historic portrayal of Moses in The Ten Commandments and one of the clever

songs from Lin-Manuel Miranda’s Hamilton for their fine art classrooms:




                                            Illustration 6
       For history classrooms, a school, teacher, or civic non-profit looking to donate displays might

consider looking to the late Justice Ruth Bader Ginsburg, who wrote in My Own Words:




                                            Illustration 7


                                                 27
      Case 3:24-cv-00517-JWD-SDJ            Document 39-1       08/05/24 Page 37 of 60



       A school, teacher, or civic non-profit looking to donate displays also may wish to highlight

historic civil rights leaders—for example, Martin Luther King Jr., who famously required Birmingham

campaign volunteers to sign “ten commandments of non-violence,” or Thurgood Marshall, whom the

New York Times memorably described as “brandishing” the Constitution as Moses brandished the

Ten Commandments:




                                           Illustration 8




                                           Illustration 9


                                                28
      Case 3:24-cv-00517-JWD-SDJ             Document 39-1        08/05/24 Page 38 of 60



       A school, teacher, or civic non-profit looking to donate displays might choose a humor-

inspired poster for computer classes:




                                            Illustration 10
       For schools and teachers focused on rhetoric, debate, or the study of speech-language

pathology, they might use this opportunity to reinforce strategies for overcoming stuttering in their

speech classes:




                                            Illustration 11


                                                  29
      Case 3:24-cv-00517-JWD-SDJ               Document 39-1        08/05/24 Page 39 of 60



         A school, teacher, or civic non-profit looking to donate displays also could explain the impact

of non-profit organizations on legislative and litigation processes in a government class:




                                              Illustration 12
         Or, using many of the same headlines, a school, teacher, or civic non-profit may similarly

highlight the impact of ligation on our governance while alluding to pop culture by invoking Internet

memes:




                                              Illustration 13


                                                    30
      Case 3:24-cv-00517-JWD-SDJ                Document 39-1         08/05/24 Page 40 of 60



        A school, teacher, or civic non-profit looking to donate displays also could educate students

on particular Supreme Court decisions, or speak more broadly to how different Supreme Court

decisions have addressed the Ten Commandments in a government or elective class:




                                              Illustration 14




                                              Illustration 15
        As these few examples demonstrate, there are quite literally innumerable ways to comply with

H.B. 71. From different topics, to different content, to different fonts, to different colors, to different


                                                    31
      Case 3:24-cv-00517-JWD-SDJ                Document 39-1         08/05/24 Page 41 of 60



sizes, to different orientations—the possibilities are endless. See Ex. A ¶ 13 (in addition to considering

these illustrations, the Department of Education “will likely also consider other illustratives with

different themes, content, formats, layouts, graphics, typography, color schemes, sizes, styles,

interactive elements, spacing, borders, and headings”). And that sets aside a whole host of other

questions about where schools and teachers actually place the posters, what size the posters are,

whether each classroom may have a different poster, and so on.

        c. Against this infinite universe of potential H.B. 71 displays, Plaintiffs must show that every

single display reflects one of the six “historical hallmarks of an established religion.” Kennedy, 597 U.S.

at 537 & n.5 (citing Shurtleff, 596 U.S. at 286 (Gorsuch, J., concurring)); Croft, 624 F.3d at 164. They

have not done so, and cannot do so—to the contrary, every illustration above is constitutional,

underscoring the breadth of constitutional H.B. 71 displays.

        Just take as an example The Supreme Court & the Lawgivers illustration:




                                               Illustration 4
Much like the Court’s own public recognition of Moses’s pervasive presence throughout the Court

building, this poster explains the unique friezes that line the Courtroom and highlights three of the

most well-known lawgivers and their most notable works. See Am. Legion v. Am. Humanist Ass’n, 588

                                                    32
      Case 3:24-cv-00517-JWD-SDJ                Document 39-1         08/05/24 Page 42 of 60



U.S. 29, 53 (2019) (“In Van Orden and McCreary, no Member of the Court thought that these depictions

[in the Supreme Court’s frieze] are unconstitutional.”). That illustration is not remotely (1) the exertion

of control over church doctrine and personnel, (2) mandated church attendance and corresponding

punishment for failure to participate, (3) punishment for religious exercise, (4) restricted political

participation, (5) financial support for a church, or (6) using a church to carry out civil functions. See

Shurtleff, 596 U.S. at 286 (Gorsuch, J., concurring).

        So, too, with (to take another example) the Legal Non-Profits In Action illustration:




                                               Illustration 12
That illustration plainly teaches the reader about two well-known non-profit organizations, explains

the potential roles that such organizations can play, and—using a real-world example—demonstrates

the clash of titans that often unfolds in high-profile adversarial litigation. Again, this is not remotely

(1) the exertion of control over church doctrine and personnel, (2) mandated church attendance and

corresponding punishment for failure to participate, (3) punishment for religious exercise,

(4) restricted political participation, (5) financial support for a church, or (6) using a church to carry

out civil functions. See Shurtleff, 596 U.S. at 286 (Gorsuch, J., concurring).



                                                     33
      Case 3:24-cv-00517-JWD-SDJ                Document 39-1         08/05/24 Page 43 of 60



        All this is true of every illustration above, which, again, only scratches the surface of potential

H.B. 71 displays.

        d. Plaintiffs’ contrary allegations and arguments are unavailing. First, a prominent theme in

Plaintiffs’ papers is that H.B. 71 displays “will [ ] unconstitutionally coerce[ ] [Plaintiffs and their

children] into religious observance, veneration, and adoption of the state’s favored religious scripture.”

E.g., Compl. ¶ 160; PI Mem. at 16–20. Respectfully, that is an entirely implausible allegation when

compared to the illustrations above: No reasonable observer would feel coerced to venerate the Ten

Commandments if, for example, they happen to see Justice Ginsburg’s take on important foundational

documents, an explanation of the House chamber, or strategies for stuttering. See, e.g., Bell v. Eagle

Mountain Saginaw Indep. Sch. Dist., 27 F.4th 313, 320 (5th Cir. 2022) (“Determining whether a claim is

plausible ‘requires the reviewing court to draw on its judicial experience and common sense.’ ”). And

that is especially so when measured against the forms of coercion identified in Kennedy. See 597 U.S. at

537 (“Government ‘may not coerce anyone to attend church,’ nor may it force citizens to engage in ‘a

formal religious exercise.’ ” (citations omitted)). Plaintiffs’ children are not required to do anything,

nor does H.B. 71 require displays to be read, discussed, or even placed in an especially visible part of

the classroom; they are simply passive displays. This case thus “looks very different from those in

which [the Supreme] Court has found prayer” and devotional Bible reading “involving public school

students to be problematically coercive.” Kennedy, 597 U.S. at 541; see Sch. Dis. Of Abington Twp. v.

Schempp, 374 U.S. 203, 206–07, 225 (1963) (holding unconstitutional vocal, school-directed prayer and

Bible reading at the beginning of each day).

        That disposes of Plaintiffs’ suggestion (PI Mem. at 16) that truancy laws should alter this

analysis because offended students cannot absent themselves without incurring punishment, which is

coercion in Plaintiffs’ view. The coercion question for Establishment Clause purposes is whether

Plaintiffs’ children are forced to participate in religious activity. But there is no religious activity

                                                    34
       Case 3:24-cv-00517-JWD-SDJ                Document 39-1          08/05/24 Page 44 of 60



occurring and nothing is required of Plaintiffs’ children. The most Plaintiffs can say is that they

presumably will be offended if and when they see an H.B. 71 display. The Supreme Court has made

clear, however, that “offense does not equate to coercion.” Kennedy, 597 U.S. at 539 (cleaned up); see

also Doe v. Beaumont Indep. Sch. Dist., 240 F.3d 462, 470 (5th Cir. 2001) (en banc) (“If no religious activity

is at issue, any speculation as to whether students might feel pressured to participate is irrelevant.”

(emphasis added)).

        Second, another prominent theme in Plaintiffs’ papers is that H.B. 71 displays will “adopt[ ] an

official position on religious matters” and “tak[e] sides in questions over theological doctrine,” namely

the correct version of the Commandments. Compl. ¶ 161; see also PI Mem. at 13–15. Again,

respectfully, that is an entirely implausible allegation when assessed against, for example, education

about the parallels that Martin Luther King Jr. and the New York Times have drawn to the Ten

Commandments. In fact, Plaintiffs’ charge is simply wrong, as possible posters like the Important

Supreme Court Cases illustration demonstrate. Although that poster’s discussion of Van Orden would be

constitutional standing alone, the addition of the “NOTE” renders that fact beyond dispute: “This

was the version upheld in Van Orden, but different faith traditions adopt different versions of the

Commandments’ text. For example, the Catholic version omits ‘graven images.’ And the Torah uses

the phrase ‘I am the Lord your God who brought you out of the land of Egypt, out of the house of

bondage.’ ” Ex. A-1 at 14. If adopted by a school or teacher, therefore, this illustration would

necessarily neutralize the heart of Plaintiffs’ Complaint.

        At bottom, Plaintiffs’ Establishment Clause claim must be dismissed because Plaintiffs have

not met—and cannot meet—the high standard for facial claims given the endless possibilities of

H.B. 71 displays that may be implemented.




                                                     35
      Case 3:24-cv-00517-JWD-SDJ               Document 39-1         08/05/24 Page 45 of 60



            3. H.B. 71 is independently constitutional given the history of Ten
               Commandments in public education.

        Although the Court need not proceed past Plaintiffs’ inability to identify even one of the

Kennedy hallmarks for every potential H.B. 71 display, it bears noting that H.B. 71 is especially

constitutional given the historical role of the Ten Commandments not only in America, but also in

American public education. The Van Orden plurality emphasized that (and catalogued how) the Ten

Commandments are part of “the rich American tradition of religious acknowledgments.” 545 U.S. at

689–92 (plurality op.). More recently, the Supreme Court emphasized that the Ten Commandments

“have historical significance as one of the foundations of our legal system.” Am. Legion, 588 U.S. at

53. As to public education (and as discussed below), moreover, Stone itself and the principal Van Orden

dissent expressly acknowledged that the Ten Commandments constitutionally may be integrated into

school curriculum. See Stone, 449 U.S. at 42; Van Orden, 545 U.S. at 742 (Souter, J., dissenting).

        This historical backdrop matters because, where “categories of monuments, symbols, and

practices with a longstanding history follow in” our Nation’s “tradition, they are likewise

constitutional.” Am. Legion, 588 U.S. at 63 (plurality op.) (emphasis added); accord id. at 86–87

(Gorsuch, J., concurring) (“[W]hat matters” “isn’t” a display’s “age but its compliance with ageless

principles”). Ten Commandments displays, as a category, therefore are presumptively constitutional

because of their long historical pedigree. See Van Orden, 545 U.S. at 686, 688 (plurality) (“[T]here is an

unbroken history of official acknowledgment by all three branches of government of the role of

religion in American life from at least 1789,” including “acknowledgments of the role played by the

Ten Commandments in our Nation’s heritage.” (quoting Lynch v. Donnelly, 465 U.S. 668, 674 (1984))).

        That historical backdrop alone justifies H.B. 71 displays; however, there is even more historical

justification here. As H.B. 71 explains, the Ten Commandments were featured in textbooks widely

used before and after the advent of public schools. La. R.S. § 17:2122(B)(3) (citing, inter alia, The New

England Primer and the McGuffey Readers); see Encyclopedia Brittanica, The New-England Primer,
                                                   36
      Case 3:24-cv-00517-JWD-SDJ              Document 39-1         08/05/24 Page 46 of 60



https://tinyurl.com/5682tuhy (“the principal textbook for millions of colonists and early

Americans”); James W. Fraser, Between Church and State (2d ed.), https://tinyurl.com/3fmm48ev,

at 35 (“omnipresent McGuffey’s Readers” were “[p]erhaps the most consistent element in the

nineteenth-century common school classroom”). Indeed, in the “public common schools” that arose

after disestablishment, not only these textbooks but “religious instruction” more generally was

“pervasive,” “permeat[ing]” “every subject.” Amicus Br. of Prof. Charles L. Glenn in Supp. of Pet’rs,

Carson v. Makin, 2021 WL 4173250, at *5–10 (U.S. Sept. 10, 2021) (Glenn Br.).

       One example (of many) of how the Ten Commandments were used in public education is a

story called The Young Witness, which appeared in McGuffey’s Readers. William Holmes McGuffey,

McGuffey’s Fourth Eclectic Reader 207–210 (1920 rev. ed.) (available at https://tinyurl.com/5n64bcsu).

That story described a nine-year-old girl who was called to testify at a criminal trial. The defendant’s

counsel sought to disqualify her on the ground that she “does not understand the nature of an oath.”

So, the judge asked her if she knew what the Bible was (she did) and whether she knew what would

happen if she lied after placing her hand on the Bible and swearing to tell the truth. She replied that

she would be sent to prison and she would never go to Heaven. “How do you know this,” the judge

asked. She took the Bible from him, turned to the Commandments, and explained, “Thou shalt not

bear false witness against thy neighbor.” So, the judge—moved by the sincerity of her belief and the

seriousness with which she took her oath—found her competent to testify.

       To be sure, much of the 19th-century curricula were (lamentably) non-ecumenical, and they

were criticized by, for example, Catholics for reflecting a “least-common-denominator Protestantism.”

Espinoza v. Montana Dep’t of Revenue, 591 U.S. 464, 503 (2020) (Alito, J., concurring). As the Nation

became more religiously diverse, accommodations were demanded and made. See Glenn Br. at *8–10

(recounting public school system that “screen[ed] out content disparaging Catholicism” from

common-school textbooks, to the “praise[ ]” of the “common-school movement’s leading light”).

                                                  37
      Case 3:24-cv-00517-JWD-SDJ               Document 39-1         08/05/24 Page 47 of 60



More importantly, the 19th-century debates were about whether more or different religious instruction

should be supported by the state, Espinoza, 591 U.S. at 502–06 (Alito, J., concurring)—not whether

religious materials in schools could “coexis[t] with the principles of disestablishment,” Town of Greece,

572 U.S. at 578.

        So schools today act comfortably within historical norms when they take one aspect of the

religious material long presented in schools—one that has “an undeniable historical meaning,” Van

Orden, 545 U.S. at 690 (plurality op.)—and display it passively and with context: not in textbooks, but

on the wall; not to be read and tested on, but merely available to be viewed (with bemusement or

admiration) as an aspect of legal, civic, and educational history.

            4. Stone is dead and inapposite.

        One final note about Plaintiffs’ Complaint and their preliminary-injunction motion. They rely

at length on the Supreme Court’s 1980 per curiam decision in Stone, suggesting that Stone begins and

ends this case in their favor. That reliance is puzzling given that (a) Stone is no longer good law and

(b) Stone’s own language and the Supreme Court’s subsequent narrowing constructions of Stone render

that decision easily distinguishable from the myriad ways H.B. 71 may be implemented.

        a. To start, Stone is not good law. From top to bottom, that per curiam decision applied—and

rested on—the three-part test previously announced by the Supreme Court in Lemon v. Kurtzman, 403

U.S. 602 (1971). In fact, the Stone Court took only the first part of the test (the so-called “secular

legislative purpose” part) and decided the case on that ground alone. See 449 U.S. at 41 (“We conclude

that Kentucky’s statute requiring the posting of the Ten Commandments in public schoolrooms had

no secular legislative purpose, and is therefore unconstitutional.”); see also id. at 42–43 (“We conclude

that [the Kentucky statute] violates the first part of the Lemon v. Kurtzman [ ] test[ ] and thus the

Establishment Clause of the Constitution.”).




                                                   38
      Case 3:24-cv-00517-JWD-SDJ                Document 39-1        08/05/24 Page 48 of 60



        The problem for Plaintiffs is the Supreme Court has now rejected the Lemon test in its entirety.

In Kennedy, it criticized Lemon as an “ambitiou[s], abstract, and ahistorical approach to the

Establishment Clause,” and it “abandoned Lemon and its endorsement test offshoot.” 597 U.S. at 534;

see also id. at 546 (Sotomayor, J., dissenting) (“The Court overrules Lemon ….”); Groff v. DeJoy, 600 U.S.

447, 460 (2023) (describing Lemon as “now abrogated”). That overruling of the doctrinal foundation

for Stone, in turn, means at least one of two things for Stone’s relevance here.

        First, and if nothing else, Fifth Circuit precedent prohibits any “exten[sion]” of Stone “to the

facts of this case” because Stone “was built upon a [doctrine] that the Supreme Court appears to have

walked back from.” Dialysis Newco, Inc. v. Cmty. Health Sys. Grp. Health Plan, 938 F.3d 246, 257–59 &

n.11 (5th Cir. 2019); see infra 39–41 (noting distinctions between this case and Stone). In fact, the

Supreme Court has outright thrown Lemon away.

        Second, the Supreme Court’s own precedent all but holds that this Court should treat Stone as

bad law altogether. To be sure, under Agostini v. Felton, 521 U.S. 203 (1997)—another Establishment

Clause case—the ordinary rule is that lower courts must leave the overruling of Supreme Court

decisions to the Supreme Court itself. See id. at 237. But Agostini likewise suggests that the situation

would be different if “the general principles we use to evaluate whether [something] violates the

Establishment Clause have [ ] changed” since the decision in question—drawing precisely on the then-

unchanged nature of Lemon itself. Id. at 222; see also id. at 223 (noting that “the nature of [the Lemon]

inquiry has remained largely unchanged”). That is exactly what has happened here: By overruling

Lemon, the Supreme Court has uprooted the very analytical foundation of Stone and the analytical

framework for Establishment Clause claims. Without that foundation, Stone is nothing. The Court

should say as much, which disposes of Plaintiffs’ reliance on Stone.

        b. Even if the Court wished to assess Stone’s relevance on its own terms, Plaintiffs’ reliance on

that decision would remain misplaced because Stone is easily distinguishable. Stone emphasized that the

                                                   39
      Case 3:24-cv-00517-JWD-SDJ                Document 39-1         08/05/24 Page 49 of 60



required display in that case had a “plainly religious” purpose. 449 U.S. at 41. But the Stone Court went

out of its way to emphasize that “[t]his is not a case in which the Ten Commandments are integrated

into the school curriculum, where the Bible may constitutionally be used in an appropriate study of

history, civilization, ethics, comparative religion, or the like.” Id. at 42. By that Court’s telling, Stone

involved only the “[p]osting of religious texts on the wall [that] serves no [ ] educational function.” Id.

        In subsequent decisions, the Supreme Court expressly narrowed Stone in this way, even under

the now-defunct Lemon test. For example, in McCreary County, Ky. v. ACLU of Ky., 545 U.S. 844 (2005),

the Court said that the Stone Ten Commandments “stood alone”—and their “isolated exhibition did

not leave room even for an argument that secular education explained their being there.” Id. at 867–

68 (emphasis added). “But,” the Court continued, “Stone did not purport to decide the constitutionality

of every possible way the Commandments might be set out by the government, and under the

Establishment Clause detail is key.” Id. at 867. And “[t]he display in Stone had no context that might

have indicated an object beyond the religious character of the text.” Id. at 868. Similarly, in the

contemporaneous Van Orden decision, the plurality emphasized that nothing “suggest[s] that Stone

would extend to displays of the Ten Commandments that lack a ‘plainly religious,’ ‘pre-eminent

purpose.’ ” Van Orden, 545 U.S. at 691 n.11 (plurality op.). And the principal dissent by Justices Souter,

Stevens, and Ginsburg agreed that “the Decalogue, as Stone suggested, [could] be integrated

constitutionally into a course of study in public schools.” Id. at 742 (Souter, J., dissenting); see, e.g.,

ACLU of Ky. v. Mercer County, 432 F.3d 624, 634 (6th Cir. 2005) (“Whatever is left of Stone is limited to

circumstances involving public displays of the Ten Commandments in isolation.”).

        The preceding discussion and illustrations vividly demonstrate that the potential H.B. 71

displays are worlds away from the standalone displays addressed in Stone. Every illustration above

clearly lacks a religious purpose (much less a preeminently religious one) and clearly has a context—

including a lengthy required context statement that was lacking in Stone—that indicates an educational

                                                    40
      Case 3:24-cv-00517-JWD-SDJ               Document 39-1        08/05/24 Page 50 of 60



or other non-religious objective. That means the Supreme Court itself would distinguish the displays

and uphold them even if Stone remained good law. H.B. 71 simply does nothing more than

“constitutionally” integrate the Ten Commandments “into a course of study in public schools,” which

even the Van Orden dissenters readily acknowledged is permissible. Id.

                                           *       *       *

        In sum, Plaintiffs cannot show that there is “no set of circumstances” under which H.B. 71

may be constitutionally implemented. Croft, 624 F.3d at 164. To be clear, if the analysis feels

speculative, abstract, and uncertain, that is because Plaintiffs elected to bring a facial challenge long

before H.B. 71 was even implemented. That underscores the lack of ripeness and Plaintiffs’ lack of

standing, see supra Section I—and at the very least, it underscores that Plaintiffs cannot “clear [the]

high bar” presented by a facial challenge at this motion-to-dismiss stage. Moody, 144 S. Ct. at 2411

(Jackson, J., concurring in part and concurring in the judgment). That is the “cost” of bringing a claim

that the Supreme Court intentionally has “made … hard to win.” Id. at 2397 (maj. op.). The Court

should dismiss the Establishment Clause claim in Count I.

        B. Plaintiffs’ Free Exercise Clause Claim Fails (Count II).

        The foregoing analysis also resolves Plaintiffs’ Free Exercise claim, which receives

comparatively little time in Plaintiffs’ papers. The Complaint alleges that each H.B. 71 display “will

substantially burden the religious exercise of minor-child Plaintiffs and other children who do not

subscribe to the state-sanctioned version of the Ten Commandments by pressuring them to suppress

or limit express of their religious or nonreligious backgrounds, beliefs, or practices,” while also

“pressuring them into observance, veneration, and adoption of the state’s favored religious scripture.”

Compl. ¶¶ 168, 169. These allegations are implausible for at least three independent reasons.

        1. At the outset, it defies common sense to say that a student would feel this alleged pressure

if they happen to view, say, Legal Non-Profits In Action, Memes & Law, or Ten (Duel) Commandments:


                                                   41
Case 3:24-cv-00517-JWD-SDJ    Document 39-1    08/05/24 Page 51 of 60




                             Illustration 12




                             Illustration 13




                                   42
      Case 3:24-cv-00517-JWD-SDJ              Document 39-1         08/05/24 Page 52 of 60




                                             Illustration 6
The ACLU’s long-running fight against the Ten Commandments—whether presented as part of a

lesson about non-profits or as part of a Regina George joke—is precisely the position Plaintiffs and

their children advance here. How could that pressure them to change or suppress their religion? So,

too, seeing Lin-Manuel Miranda’s clever spin on the Ten Commandments may prompt an observer

to watch Hamilton, but it would not burden their religion or force them to change it any more than it

would coerce a student to duel.

       2. More fundamentally, the Free Exercise Clause is not implicated here. As its name suggests,

the Free Exercise Clause protects only religious exercise—believing, professing, and engaging in

“conduct motivated by religious belief.” Church of Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S.

520, 543 (1993). And nothing in the Free Exercise Clause obligates the State to “comport with the

religious beliefs of particular citizens,” or “demand[s] that the Government join in [their] chosen

religious practices.” Bowen v. Roy, 476 U.S. 693, 699–700 (1986).




                                                  43
       Case 3:24-cv-00517-JWD-SDJ                      Document 39-1           08/05/24 Page 53 of 60



           Those baseline principles matter here because several Plaintiffs claim they are not exercising

religion at all, Compl. ¶¶ 108–13, 125–29, 140–45,5 so their Free Exercise claims fail from the jump.

Others allege that they “object to,” and are “offended” by H.B. 71, Compl. ¶¶ 83, 91, 101, 108, 115,

125, 131–32, 140, 147, 149, but taking religious offense does not curtail one’s own religious exercise.

See Kennedy, 597 U.S. at 539. And still others suggest that H.B. 71 contains a “wrong[ ]” or “sacrilegious”

version of the Ten Commandments that “promote[s]” “religious scripture” or “religious displays” and

“send[s] a message” with which they disagree. Compl. at ¶¶ 83, 88, 89, 91, 95–97, 101, 104–07, 115,

123–25, 137, 139, 147, 154. But the Free Exercise Clause does not compel government to affirm

Plaintiffs’ chosen religious practices. Bowen, 476 U.S. at 699.

           In reality, Plaintiffs’ Free Exercise claim boils down to a redux of their Establishment Clause

coercion theory—but this time characterized as a substantial burden on their religious exercise. To be

sure, the Free Exercise Clause protects against “indirect coercion or penalties on the free exercise of

religion, not just outright prohibitions.” Carson v. Makin, 596 U.S. 767, 778 (2022) (citation omitted).

But the government “do[es] not engage in impermissible coercion merely by exposing constituents to

[something] they would rather not hear and in which they need not participate.” Town of Greece, 572

U.S. at 590 (emphasis added). Nor does “[o]ffense … equate to coercion.” Kennedy, 597 U.S. at 539

(quoting Town of Greece, 572 U.S. at 589). That is no less true in classrooms where, “[i]f no religious

activity is at issue, any speculation as to whether students might feel pressured to participate is

irrelevant.” Beaumont Indep. Sch. Dist., 240 F.3d at 470 (emphasis added).

           The case law illustrates that line well. Consider religious students objecting to the Pledge of

Allegiance. It is canonical now that public schools cannot force a religiously objecting student to recite

the pledge or stand for the ceremony. W. Virginia State Bd. of Educ. v. Barnette, 319 U.S. 624, 629, 642



5 As far as Defendants can tell, the non-religious plaintiffs are Harding, Owens, A.O., McCrory, E.M., P.M., L.M., Alkire,

and L.A.

                                                           44
        Case 3:24-cv-00517-JWD-SDJ                         Document 39-1             08/05/24 Page 54 of 60



(1943); see, e.g., Oliver v. Arnold, 3 F.4th 152, 163 (5th Cir. 2021). Yet the Pledge of Allegiance recitation

ceremony creates no Free Exercise problem in schools despite exposing objectors to the ceremony.

See, e.g., Sherman v. Cmty. Consol. Sch. Dist. 21 of Wheeling Twp., 980 F.2d 437, 440 (7th Cir. 1992); Croft,

624 F.3d at 170.6 So too with the United States’ motto “In God We Trust.” Whether on a coin, bill,

or even a classroom wall (as in Louisiana), it does not “compel citizens to engage in a religious

observance” nor do its actions “amount to coerced participation in a religious practice.” New Doe Child

#1 v. United States, 901 F.3d 1015, 1019, 1023 (8th Cir. 2018); see, e.g., O’Hair v. Murray, 588 F.2d 1144

(5th Cir. 1979).7

          At bottom, forcing religious objectors to participate in religious exercise is forbidden of

course, but non-participatory exposure is not. Otherwise, creationist students could demand that the

concept of evolution be edited out of textbooks or educational museum exhibits. See Crowley v.

Smithsonian Inst., 636 F.2d 738 (D.C. Cir. 1980). Or, Hindu students could ask for history book

revisions because they offend their religious beliefs about who settled India and when. See California

Parents for the Equalization of Educ. Materials v. Torlakson, 973 F.3d 1010, 1020 (9th Cir. 2020). As with

the Pledge of Allegiance, while students may have a right to opt out of participating in specific lessons,

activities, or observances that cause them to violate their faith, they do not have a right to remove

content from the curriculum (or the classroom wall) because the presence allegedly offends them. As

a result, H.B. 71 displays—in whatever form they may ultimately appear—do not infringe Plaintiffs’

Free Exercise rights.

          3. In all events, Plaintiffs’ Free Exercise claim independently fails because they cannot show

that H.B. 71 is “not neutral or generally applicable.” Kennedy, 597 U.S. at 525. “Government fails to


6 See also, e.g., Myers v. Loudoun Cnty. Pub. Sch., 418 F.3d 395, 398 & n.1 (4th Cir. 2005); Newdow v. Rio Linda Union Sch. Dist.,

597 F.3d 1007, 1036 (9th Cir. 2010); Freedom From Religion Foundation v. Hanover School District, 626 F.3d 1 (1st Cir. 2010);
Doe v. Acton-Boxborough Reg’l Sch. Dist., 8 N.E.3d 737 (Mass. 2014).
7 See also, e.g., Aronow v. United States, 432 F.2d 242, 243 (9th Cir. 1970); Newdow v. Lefevre, 598 F.3d 638, 644 (9th Cir. 2010);

Newdow v. Peterson, 753 F.3d 105, 109 (2d Cir. 2014); New Doe Child #1 v. Congress of the United States, 891 F.3d 578, 589 (6th
Cir. 2018); Mayle v. United States, 891 F.3d 680, 684–86 (7th Cir. 2018).

                                                               45
      Case 3:24-cv-00517-JWD-SDJ                 Document 39-1         08/05/24 Page 55 of 60



act neutrally when it proceeds in a manner intolerant of religious beliefs or restricts practices because

of their religious nature.” Fulton v. City of Philadelphia, 593 U.S. 522, 533 (2021) (citing Masterpiece

Cakeshop, Ltd. v. Colorado Civil Rights Comm’n, 584 U. S. 617, 636–40 (2018); and Lukumi, 508 U.S. at

533). Here, H.B. 71 plainly does not “restrict[ ] practices because of their religious nature,” id.—it does

not restrict anything, in fact. H.B. 71 also is not “intolerant of religious beliefs.” Id. If anything, it is

exceedingly tolerant of beliefs across faith traditions that espouse the Ten Commandments, by urging

education about the role of the Ten Commandments in Louisiana, American, and world history.

        To the extent Plaintiffs suggest that the Legislature’s selection of the Ten Commandments (or

a particular version of the Ten Commandments) demonstrates intolerance of other faiths, that

argument would make a hash of the Court’s Establishment Clause cases. The Latin cross upheld in

American Legion would be unlawfully intolerant of other faiths and thus subject to strict scrutiny under

the Free Exercise Clause. The same would be true of the Ten Commandments monument—reflecting

the exact same text at issue here—upheld in Van Orden: subject to strict scrutiny under the Free

Exercise Clause. That is nonsense. Moreover, Plaintiffs overlook that the text at issue here resulted

from “consultation with a committee composed of members of several faiths” in an effort to “find a

nonsectarian text.” Van Orden, 545 U.S. at 701–02 (plurality op.). There is no serious claim that H.B. 71

is not neutral as defined by the Supreme Court.

        Nor is there any serious claim that H.B. 71 is not generally applicable, which is likely why

Plaintiffs do not press that claim. Under Supreme Court precedent, a “law is not generally applicable

if it ‘invites’ the government to consider the particular reasons for a person’s conduct by providing ‘a

mechanism for individualized exemptions.’ ” Fulton, 593 U.S. at 533 (quoting Emp’t Div. v. Smith, 494

U.S. 872, 884 (1990)) (cleaned up). “A law also lacks general applicability if it prohibits religious

conduct while permitting secular conduct that undermines the government’s asserted interests in a

similar way.” Id. This test illustrates the problem with Plaintiffs’ attempt to shoehorn an Establishment

                                                     46
       Case 3:24-cv-00517-JWD-SDJ               Document 39-1         08/05/24 Page 56 of 60



Clause claim into the Free Exercise Clause—this test doesn’t make sense as applied here. H.B. 71 does

not prohibit any conduct at all, much less prohibit religious conduct while excusing similar secular

conduct. And for the same reason, H.B. 71 does not maintain an exemption scheme for a non-existent

prohibition, which in the ordinary Free Exercise case would illustrate unlawful targeting of religion.

        The Court should dismiss the Free Exercise claim in Count II.

III.    The Court Should Deny Plaintiffs’ Preliminary-Injunction Motion.

        If the Court dismisses Plaintiffs’ Complaint (on any ground), the most efficient path forward

is to deny Plaintiffs’ preliminary-injunction motion as moot. See, e.g., Bezet, 276 F. Supp. 3d at 579

(“Because the Court finds that the Government’s motion to dismiss should be granted, the Court will

deny as moot Plaintiff’s motion for partial preliminary injunction.”); see also City of Alexandria v. FEMA,

781 F. Supp. 2d 340, 342 n.1 (W.D. La. 2011) (ordering that a pending Rule 12(b)(6) motion and

preliminary-injunction motion be “denied as moot” upon dismissing for lack of subject matter

jurisdiction under Rule 12(b)(1)). Accordingly, the Court should deny the motion as moot.

        If the Court addresses the preliminary-injunction motion on the merits, it should deny the

motion on the merits because Plaintiffs do not satisfy the ordinary factors warranting “extraordinary”

relief. Munaf, 553 U.S. at 689–90. First, for all the reasons expressed above and incorporated by

reference here, Plaintiffs are not likely to succeed on the merits of their claims. Specifically, this Court

lacks subject matter jurisdiction for various reasons ranging from ripeness, to lack of standing, to

sovereign immunity. See supra Section I. Even if the Court reached the merits, dismissal would be

warranted because Plaintiffs have failed to state a claim for relief. See supra Section II. Assuming

arguendo, however, that Plaintiffs could avoid dismissal, they are—at the very least—unlikely to succeed

on the merits of their claims, particularly given the clear jurisdictional problems and the disfavored

nature of Plaintiffs’ facial challenge.




                                                    47
       Case 3:24-cv-00517-JWD-SDJ                 Document 39-1         08/05/24 Page 57 of 60



        Second, Plaintiffs will not suffer any irreparable harm from the absence of an injunction.

Plaintiffs’ motion dedicates only one sentence to the issue—and that sentence simply invokes the

merits. See PI Mem. at 24 (“Plaintiffs are likely to suffer irreparable harm because ‘[t]he loss of First

Amendment freedoms, for even minimal periods of time, unquestionably constitutes irreparable

injury.’ ”). For the same reasons this case is not ripe, Plaintiffs lack standing, and Plaintiffs fail to state

a claim, therefore, they also have not identified imminent irreparable harm. And to be specific:

Plaintiffs do not yet know how H.B. 71 will be implemented, and thus do not yet know whether any

particular display plausibly could give rise to their constitutional concerns. Although this is a key fatal

defect in the jurisdictional analyses, it likewise underscores Plaintiffs’ inability to show imminent

irreparable harm.

        Third, and for similar reasons, the equities and the public interest cut against an injunction. As

just explained, Plaintiffs face no imminent irreparable harm. On the other side of the ledger, both the

State of Louisiana and the public would suffer from an injunction, particularly one that affects the

implementation of H.B. 71. See, e.g., E.T. v. Paxton, 19 F.4th 760, 770 (5th Cir. 2021) (“When a statute

is enjoined, the State necessarily suffers the irreparable harm of denying the public interest in the

enforcement of its laws.” (quoting Veasey v. Abbott, 870 F.3d 387, 391 (5th Cir. 2017) (alteration

omitted))). An injunction, moreover, would be inequitable as to Defendants themselves, who must

determine for themselves how they will comply with H.B. 71 in advance of the January 2025 deadline

for schools—a determination that would be complicated by an injunction. For these reasons, the

equities and the public interest plainly cut against an injunction.

        Finally, as to Plaintiffs’ request that the Court issue “an order directing Defendants Brumley

and the members of [BESE] to provide a copy of any preliminary injunction granted to all Louisiana

public elementary, secondary, and charter schools, and all public post-secondary education

institutions,” PI Mot. at 3, the Court should reject that request out of hand. Nothing prevents Plaintiffs

                                                      48
      Case 3:24-cv-00517-JWD-SDJ                Document 39-1         08/05/24 Page 58 of 60



themselves from sending their proposed mailing. There is no valid reason to coopt State officials for

that purpose. Moreover, because Defendants recognize that this Court cannot enjoin non-parties from

implementing H.B. 71, it appears that the only purpose behind Plaintiffs’ demand that Defendants

Brumley and members of BESE themselves send a copy of any injunction is to create an in terrorem effect,

a de facto injunction, on all non-parties throughout the State—even though Plaintiffs chose to sue only

a small number of Defendants. That is exceedingly improper and should be rejected, including because

that relief is unnecessary to redress Plaintiffs’ alleged harm and extends to schools that their children

do not attend. See Labrador v. Poe, 144 S. Ct. 921, 921 (2024) (Gorsuch, J., concurring) (agreeing with

the Supreme Court’s partial stay of a district court’s injunction and explaining that injunctions generally

“may go no further than necessary to provide interim relief to the parties”).

        The Court should deny the preliminary-injunction as moot or on the merits.

IV.     In the Alternative, the Court Should Stay Any Injunction Pending Appeal.

        If the Court is inclined (a) not to dismiss the Complaint and (b) to grant an injunction,

Defendants respectfully ask that the Court stay the order pending appeal. Such a stay would be proper

for essentially all of the reasons dismissal of the Complaint and denial of the preliminary-injunction

motion are proper. First, if nothing else, Defendants would be likely to succeed on the merits of their

appeal because, for example, this case is jurisdictionally barred under Fifth Circuit precedent. See supra

Sections I, II, II. Second, the equities and the public interest would favor a stay because, among other

things, the State and the public have an interest in the enforcement of Louisiana law. See E.T., 19 F.4th

at 770. By contrast, Plaintiffs identify no ongoing harm or any imminent harm, which confirms that a

stay would be proper.




                                                    49
      Case 3:24-cv-00517-JWD-SDJ               Document 39-1         08/05/24 Page 59 of 60



                                      PRAYER FOR RELIEF

        Defendants respectfully request that this Court grant Defendants’ motion to dismiss and

dismiss Counts I and II of Plaintiffs’ Complaint. The Court also should deny Plaintiffs’ motion for a

preliminary injunction, but if it enters an injunction, it should stay the order pending appeal.




                                                   50
    Case 3:24-cv-00517-JWD-SDJ   Document 39-1         08/05/24 Page 60 of 60



Dated: August 5, 2024              Respectfully submitted,

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                                   51
